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                     EXHIBIT!A!
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

HENRY ARGUDO and DIEGO SANAY, on behalf
of themselves and others similarly situated

                  Plaintiffs,
       v.

PAREA GROUP LLC, d/b/a TRATTORIA IL                             18 CV 678 (JMF)
MULINO, IMNY GS LLC d/b/a IL MULINO
TRIBECA, GFB RESTAURANT CORP. d/b/a IL
MULINO DOWNTOWN, WONDERFUL
RESTAURANT LLC d/b/a IL MULINO
UPTOWN, K.G. IM MANAGEMENT,
LLC, PASTA PERFECT LLC, IM 60 STREET, IL
MULINO USA, IM LLC-I, BRIAN GALLIGAN,
and GERALD KATZOFF,

                  Defendants.


                     SETTLEMENT AGREEMENT AND RELEASE

       This Settlement Agreement and Release (the “Agreement”) is entered into by and
between Henry Argudo and Diego Sanay (hereinafter “Named Plaintiffs” or “Class
Representatives”), on behalf of themselves and a class of individuals they represent, and
Defendants IMNY GS LLC d/b/a Il Mulino Tribeca, GFB Restaurant Corp. d/b/a Il Mulino
Downtown, Wonderful Restaurant LLC d/b/a Il Mulino Uptown, K.G. IM Management,
LLC, Pasta Perfect LLC, IM 60 Street, Il Mulino USA, IM LLC-I, Brian Galligan, and Gerald
Katzoff.

                                RECITALS AND BACKGROUND

        WHEREAS, on January 25, 2018, the Named Plaintiffs filed a Collective and Class
Action Complaint in which they asserted claims against Defendants under the Fair Labor
Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”) and the New York Labor Law (“NYLL”) for
the alleged failure to pay certain wages and tips to the Named Plaintiffs and other employees
who they alleged are similarly situated (the “Litigation”); and

       WHEREAS, in litigating the Named Plaintiffs’ claims, the Parties engaged in substantial
discovery, including reviewing tens of thousands of payroll documents exchanged by the Parties,
analyzing personnel documents, wage notices and payroll records, and conducting depositions;
and



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         WHEREAS, on September 24, 2019, the Court certified a Fed. R. Civ. P. Rule 23 Class
of all tipped, food-service employees who worked for Defendants at five Il Mulino restaurants
located in Manhattan from January 26, 2012 through the present (collectively, the “Class
Members”); and

        WHEREAS, Defendants deny all the allegations made by the Named Plaintiffs relating to
their claims in the Litigation and deny any and all liability and damages to Plaintiffs with respect
to the alleged facts or causes of action asserted in the Litigation; and

        WHEREAS, on February 6, 2020, the Parties attended a full day mediation with Ruth D.
Raisfeld, Esq. during which the Parties made significant progress towards settling the claims in
the Litigation but did not reach a final resolution; and

       WHEREAS, the Parties continued to negotiate and, in May 2020, finally agreed to settle
the Named Plaintiffs’ and the Class Members’ claims; and

        WHEREAS, without admitting or conceding any liability or damages whatsoever and
without admitting that wages, gratuities, and/or other amounts improperly were withheld from
any employees, Defendants have agreed to resolve the Litigation on the terms and conditions set
forth in this Agreement, to avoid the burden, expense, and uncertainty of continuing the
Litigation;

         WHEREAS, Class Counsel has analyzed and evaluated the merits of the claims made
against Defendants in the Litigation, and the impact of this Agreement on the Named Plaintiffs
and the Class Members, and based upon Class Counsel’s analysis and evaluation of a number of
factors, and recognizing the substantial risks of continued litigation, including the possibility
that, if not settled now, litigation might not result in any recovery whatsoever, or might result in
a recovery that is less favorable and that would not occur for several years, Class Counsel is
satisfied that the terms and conditions of this Agreement are fair, reasonable and adequate and
that this Agreement is in the best interest of the Class;

       WHEREAS, the purpose of this Agreement is to settle fully and finally all Released
Claims between the Named Plaintiffs, the Class Members, and Defendants; and

       NOW THEREFORE, in consideration of the mutual covenants and promises set forth in
this Agreement, as well as the good and valuable consideration provided for herein, the Parties
hereto agree to a full and complete settlement of the Litigation on the following terms and
conditions:

1. DEFINITIONS

       The defined terms set forth in this Agreement have the meanings ascribed to them below.

1.1    Agreement. “Agreement” means this Settlement Agreement and Release.

1.2    Alternative Minimum Benefit. “Alternative Minimum Benefit” means the settlement
       amount of Fifty Dollars and Zero Cents ($50.00) for Class Members whose settlement


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       allocation pursuant to 3.4(B) below falls below Fifty Dollars and Zero Cents ($50.00).
       This Alternative Minimum Benefit is considered to be 100% liquidated damages and is
       not subject to tax withholdings.

1.3    Claim Form. “Claim Form” shall mean the Court approved form provided to Class
       Members that they must submit, along with an IRS Form W-9, in order to obtain their
       Individual Settlement Amount pursuant to this Agreement. The Claim Form will include
       an IRS Form W-9 and shall be in the form attached as Exhibit B to this Agreement, or in
       such other form as approved by the Court.

1.4    Claim Form Deadline. “Claim Form Deadline” shall mean the date that is sixty (60)
       calendar days after the Settlement Claims Administrator mails the Notice, Claim Form,
       and IRS Form W-9 to Class Members pursuant to Section 2.6 of this Agreement. If the
       Claims Administrator re-mails the Claim Form to any individual pursuant to Section 2.6
       of this Agreement because the first mailing was returned as undeliverable or because an
       individual has requested a reissued Claim Form, the Claim Form Deadline for such
       individuals shall be the earlier of (a) sixty (60) days after the re-mailing, or (b) 90 days
       after the Claims Administrator’s initial mailing to all Class Members. If the Claim Form
       Deadline falls on a Sunday or national bank holiday, the Claim Form Deadline will be the
       next business day that is not a Sunday or national bank holiday.

1.5    Claimant. “Claimant” shall mean any Class Member who submits a Claim Form and
       IRS Form W-9 by the Claim Form Deadline in accordance with Sections 1.4 and 2.6 of
       this Agreement.

1.6    Claims Administrator or Settlement Claims Administrator.                  The “Claims
       Administrator” or “Settlement Claims Administrator” will be mutually selected by the
       Parties, subject to approval by the Court, to mail the Notices, Claim Forms, IRS Forms
       W-9 and administer the calculation, allocation, and distribution of the QSF, as defined
       herein. The Settlement Claims Administrator’s fees shall be borne by the QSF as defined
       herein. The Parties have preliminarily identified Rust Consulting as the Settlement
       Claims Administrator.

1.7    Class Members. “Class Members” shall mean all individuals who by their current or
       former employment for Defendants are included in the Court’s September 24, 2019 class
       certification Order, namely, all tipped food-service employees who worked at the
       Manhattan Il Mulino restaurants (as defined below) during the Relevant Statutory Period.

1.8    Class Counsel. “Class Counsel” shall mean D. Maimon Kirschenbaum and Josef
       Nussbaum of Joseph & Kirschenbaum LLP.

1.9    Court. “Court” means the United States District Court for the Southern District of New
       York.

1.10   Days. “Days” means calendar days unless otherwise stated.

1.11   Defendants. “Defendants” shall mean IMNY GS LLC d/b/a Il Mulino Tribeca, GFB
       Restaurant Corp. d/b/a Il Mulino Downtown, Wonderful Restaurant LLC d/b/a Il Mulino


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       Uptown, K.G. IM Management, LLC, Pasta Perfect LLC d/b/a Il Mulino Prime, IM 60
       Street, Il Mulino USA, IM LLC-I, Brian Galligan, and Gerald Katzoff.

1.12   Defendants’ Counsel. “Defendants’ Counsel” shall mean Amanda M. Fugazy, Ilan
       Weiser, and Nicole Vescova of Ellenoff, Grossman & Schole LLP.

1.13   Effective Date. “Effective Date” of the settlement shall mean the last of the following
       dates: (a) the date thirty-five (35) days after the entry of the Final Approval Order, if
       there are no appeals; or (b) if there is an appeal of the Final Approval Order, the day after
       all appeals are finally resolved in favor of complete and final approval the Agreement.

1.14   Fairness Hearing. “Fairness Hearing” means the hearing before the Court relating to the
       Parties’ motion seeking a Final Approval Order. The Fairness Hearing shall be held at
       the Court’s convenience and shall be scheduled at the earliest practicable date of the
       Court’s choosing that is not less than forty-five (45) days after the Claim Form Deadline.

1.15   Final Approval Order. “Final Approval Order” means the Order entered by the Court
       after the Fairness Hearing, approving the terms and conditions of this Agreement.

1.16   Final Payable Amount. “Final Payable Amount” refers to the sum total of all money
       payable under this Agreement, including the Settlement Claims Administrator Fees,
       Attorneys’ Fees and Costs awarded under paragraph 3.2, Service Awards awarded under
       paragraph 3.3, and the sums of all Claimants’ Individual Settlement Amounts under
       paragraphs 3.4(B)(2), plus any applicable amounts owed as Defendants’ share of payroll
       taxes. Under no circumstances shall the Final Payable Amount exceed the amount of the
       Settlement Common Fund.

1.17   Il Mulino. “Il Mulino” refers to five Defendant Il Mulino restaurants that operate or
       operated in New York, New York at the following locations: (1) 36 East 20th Street, (2)
       37 East 60th St, (3) 86 West 3rd St, (4) 361 Greenwich St, and (5) 331 West Broadway.

1.18   Individual Settlement Amount. “Individual Settlement Amount” shall mean each Class
       Member’s potential share of the Net Settlement Fund, as calculated pursuant to
       Section 3.4 of this Agreement.

1.19   Letter. “Letter” refers to the cover-letter that will be mailed to Class Members which
       includes the Notice, Claim Form and IRS Form W-9 as enclosures. Subject to Court
       approval, the form of the letter will be the proposed template attached hereto as the first
       page of “Exhibit A.”

1.20   Litigation. “Litigation” means the above-captioned case.

1.21   Named Plaintiffs. “Named Plaintiffs” means Henry Argudo and Diego Sanay.

1.22   Net Settlement Fund. “Net Settlement Fund” means the remainder of the Qualified
       Settlement Fund (as defined below in Section 1.30) after deductions for: (1) the
       Settlement Claim Administrator’s fees and costs; (2) Court-approved attorneys’ fees and
       costs for Class Counsel; and (3) Court-approved Service Awards to the Named Plaintiffs.


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1.23   Notice or Notices. “Notice” or “Notices” means the Court-approved Notices of
       Proposed Settlement of Class Action and Collective Action Lawsuit. Subject to Court
       approval, the form of the Notice will be the proposed template attached hereto of
       “Exhibit A.”

1.24   Objector. “Objector” means a Class Member who files an objection to this Agreement,
       and does not include any Class Member who opts-out of this Agreement.

1.25   Opt-out Statement. “Opt-out Statement” is a written statement signed by an individual
       Class Member that has decided to opt-out and not be included in this Agreement.

1.26   Participating Class Members. “Participating Class Members” are all Class Members
       who do not submit a valid Opt-out Statement.

1.27   Parties. “Parties” means the Named Plaintiffs, Class Members and Defendants.

1.28   Plaintiffs. “Plaintiffs” means the Names Plaintiffs and Class Members.

1.29   Preliminary Approval Order. “Preliminary Approval Order” means the Order entered
       by the Court preliminarily approving the terms and conditions of this Agreement, and
       directing the manner and timing of providing Notice to the Class Members.

1.30   Qualified Settlement Fund or QSF. “Qualified Settlement Fund” or “QSF” means the
       account established by the Settlement Claims Administrator into which Defendants shall
       pay the Final Payable Amount as per Section 3.1. The QSF will be controlled by the
       Settlement Claims Administrator subject to the terms of this Agreement and the Court’s
       Preliminary Approval Order and Final Approval Order. Interest, if any, earned on the
       QSF will become part of the Gross Settlement Amount.

1.31   Released Claims. “Released Claims” means any claims released by Class Members
       and/or Named Plaintiffs pursuant to Section 4 of this Agreement.

1.32   Relevant Statutory Period. The “Relevant Statutory Period” refers to the period from
       January 25, 2012 to the date of the Preliminary Approval Order.

1.33   Settlement Checks. “Settlement Checks” means the set of checks issued to Class
       Members for their share of the Net Settlement Fund calculated in accordance with this
       Agreement.

1.34   Settlement Common Fund. “Settlement Common Fund” means Two Million Five
       Hundred Thousand Dollars and Zero Cents ($2,500,000.00), which is the maximum
       amount Defendants will pay to settle the Litigation as set forth in this Agreement. The
       employers’ share of applicable taxes shall be borne Defendants and not deducted from
       the Settlement Common Fund.

1.35   Subclass Members. Subclass Members shall mean the Subclass Members certified by
       the Court in its September 24, 2019 Opinion and Order. For the avoidance of doubt,
       Subclass Members shall include all tipped food-service employees who worked for


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      Defendants at the Trattoria Il Mulino location in Manhattan between January 26, 2012
      and December 31, 2018.

2. INITIAL PROCEDURAL ISSUES

2.1   Binding Agreement. This Agreement is a legally binding agreement and contains all
      material agreed-upon terms for the parties to seek a full and final settlement of the
      Litigation.

2.2   Preliminary Approval Motion.

      (A)    Within ten (10) days after the Named Plaintiffs’ and Defendants’ execution of this
             Agreement, Class Counsel will file a Motion for Preliminary Settlement Approval
             (“Preliminary Approval Motion”) with the Court. The Preliminary Approval
             Motion will seek an Order: (a) approving the Notice and Claim Form; (b)
             scheduling a fairness hearing; (c) directing the mailing of the Notice, Claim Form
             and IRS Form W-9, and providing the Class Members an opportunity to object to
             or request to “opt-out” from the settlement; (d) preliminarily approving the
             Agreement, subject only to the objections of Class Members and Final Approval
             by the Court; (e) preliminarily approving costs of administration; and (f)
             appointing a Settlement Administrator. The Preliminary Approval Motion will
             also seek deadlines for individuals to opt-out of this Agreement or provide
             objections to this Agreement, which deadline will be the date sixty (60) days from
             the mailing of the Notice, Claim Form and IRS Form W-9 to the Class Members,
             and for a Fairness Hearing for Final Approval of the Agreement before the Court
             at the earliest practicable date of the Court’s choosing but no earlier than forty-
             five (45) days after the Claim Form Deadline. Defendants will not oppose the
             Preliminary Approval Motion provided it is consistent with the terms of this
             Agreement.

      (B)    If the Court denies the Preliminary Approval Motion, the Litigation will continue
             as if no settlement had been attempted, unless the Parties jointly agree to seek
             reconsideration of the ruling, Plaintiffs or Defendants appeal the ruling, or if the
             Parties seek Court approval of a renegotiated Agreement.,

      (C)    The Parties will work together, diligently and in good faith, to expeditiously
             obtain a Preliminary Approval Order, Final Approval Order, and Final Judgment
             and Dismissal.

2.3   Class Action Fairness Act (“CAFA”) Notice. Defendants shall be responsible for
      ensuring that this Agreement complies with CAFA and that the appropriate CAFA
      notices are issued.

2.4   Retention and Responsibilities of the Settlement Claims Administrator.

      (A)    Within five (5) days after the filing of a Motion for Preliminary Approval, the
             Parties shall engage a Settlement Claims Administrator whose fee shall be paid
             from the Qualified Settlement Fund.


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(B)   The Settlement Claims Administrator will be responsible for:

      (1)    opening and maintaining an FDIC insured account to deposit the payments
             set forth in Section 3 of this Agreement;

      (2)    preparing, printing and disseminating to Class Members the Notice, Claim
             Form and IRS Form W-9;

      (3)    copying counsel for all Parties on material correspondence and promptly
             notifying all counsel for the Parties of any material requests or
             communications made by any Class Member;

      (4)    receiving, reviewing, and responding to any Opt-Out Statements,
             Objections or any other inquiries submitted by Class Members;

      (5)    furnishing to counsel for the Parties copies of any Opt-Out Statements,
             objections or other written or electronic communications from Class
             Members which the Claims Administrator receives;

      (6)    keeping track of Opt-Out Statements, including maintaining the original
             mailing envelope in which the request was mailed;

      (7)    keeping track of returned Notices;

      (8)    keeping track of returned Claim Forms and IRS Forms W-9;

      (9)    ascertaining current address information for each Notice, Claim Form and
             IRS Form W-9 returned as undeliverable and re-mailing of Notices, Claim
             Forms and IRS Forms W-9 in accordance with Section 2.6(D) of this
             Agreement within five (5) days of receipt.

      (10)   calculating distribution amounts to Class Members in accordance with this
             Agreement;

      (11)   preparing and mailing the Settlement Checks and the related tax reporting
             forms to the Named Plaintiffs, Class Members, Class Counsel, and any
             other party, entity, or individual for whom receipt of such documents is
             necessary or required;

      (12)   calculating any employer-side payroll taxes required pursuant to the
             Agreement;

      (13)   timely responding to inquiries from Class Members, Class Counsel, or
             Defendants’ Counsel consistent with the Claims Administrator’s duties
             specified herein;

      (14)   referring to Class Counsel all inquiries by Class Members regarding
             matters not within the Claims Administrator’s duties specified herein;


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      (15)   promptly apprising Class Counsel and Defendants’ Counsel of the
             activities of the Claims Administrator and maintaining adequate records of
             its activities, including the dates of the mailing of Notice(s), returned mail
             and other communications and attempted written or electronic
             communications with the Class;

      (16)   promptly providing copies to Class Counsel and Defendants’ Counsel of
             any Opt-out Statements and Objections submitted by Class Members;

      (17)   distributing the Service Awards to Class Representatives;

      (18)   preparing and mailing Class Counsel’s attorneys’ fees, expenses, and costs
             and settlement payments in accordance with this Agreement and the
             Court’s Final Approval Order;

      (19)   providing copies of the Settlement Checks and the endorsement of same to
             Class Counsel and Defendants’ Counsel upon request;

      (20)   providing a final report, deliverable to Class Counsel and Defendants’
             Counsel, detailing the results of the class mailings and participation;

      (21)   providing Class Counsel with any necessary documents regarding the
             claims administration process that Class Counsel may need in order to file
             a Motion for Final Approval of the Agreement; and

      (22)   such other tasks upon which the Parties mutually agree.

(C)   The Parties will have equal access to the Settlement Claims Administrator, and
      the Settlement Claims Administrator will provide regular reports to the Parties,
      but no less frequently than every two (2) weeks, regarding the status of the
      mailing of the Notices, Claim Forms and IRS Forms W-9 to Class Members, the
      claims administration process, the identity and number of Class Members who
      object and/or opt-out of the Agreement, and the distribution and redemption of the
      Settlement Checks.

(D)   In addition, no later than fifteen (15) days prior to the Fairness Hearing, the
      Settlement Claims Administrator shall certify jointly to Class Counsel and
      Defendants’ Counsel (a) a list of all Class Members who filed a timely objection,
      and (b) a list of all Class Members who requested to opt-out of the settlement at
      any time during the opt-out period. The Settlement Claims Administrator shall
      also provide Defendants with an updated address list for Class Members.
      Throughout the period of claims administration, the Settlement Claims
      Administrator will provide reports to the Parties upon request by either Party,
      regarding the status of the mailing of the Notices to Class Members, the claims
      administration process, and distribution of the Settlement Checks or any other
      aspect of the claims administration process.




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2.5   The Parties agree to reasonably cooperate with the Settlement Claims Administrator,
      provide accurate information, to the extent reasonably available, necessary to calculate
      the Settlement Checks, and reasonably assist the Settlement Claims Administrator in
      locating Class Members.

2.6   Notice to Class Members

      (A)    Within thirty (30) calendar days of the date of this Agreement is fully executed,
             Defendants will provide the Claims Administrator and Class Counsel with a list,
             in Microsoft Excel format, of each Class Member’s (1) name, (2) last known
             address, (3) last known e-mail address, (4) last known telephone number, (5)
             social security number, (6) dates of employment, (7) the total number of hours
             worked by each Class Member at the tip credit minimum wage between January
             1, 2015 and the date the Court enters the Preliminary Approval Order, and (8) the
             total amount of tips earned by each Subclass Member between January 1, 2015
             and the date the Court enters the Preliminary Approval Order (the “Class List”).
             Defendants will also certify by way of affidavit to be provided to Class Counsel
             that they have in good faith searched for all of the above-listed necessary
             information, to the extent that it is in Defendants’ possession, including reviewing
             Class Member’s onboarding documents (e.g., I-9 forms, employment application
             forms).

      (B)    Prior to mailing the Letter, Notice, IRS Form W-9 and Claim Form, the Claims
             Administrator will update the addresses for Class Members on the Class List
             using the National Change of Address database and other available resources
             deemed suitable by the Claims Administrator.

      (C)    Within the later of (a) fourteen (14) calendar days after receiving the Class List,
             or (b) fourteen (14) calendar days after the Court issues an Order preliminarily
             approving the Agreement, or as soon thereafter as is practicable, the Claims
             Administrator shall distribute the Letter, Notice, IRS Form W-9 and Claim Form
             via First Class United States mail, postage prepaid, to each Class Member. For
             those Class Members for whom an e-mail address and/or phone number is
             included in the Class List, the Claims Administrator will also notify such Class
             Members of the Agreement via e-mail in the form appended hereto as Exhibit C
             and/or via text message in the form appended hereto as Exhibit D. For those
             Class Members who are notified via e-mail, the Claims Administrator will include
             the Letter, Notice, and electronically fillable versions of the Claim Form and IRS
             W-9 Form as attachments to the email.

      (D)    The Letter, Notice and Claim Form shall inform all Class Members of their rights
             under this Agreement and the Claim Form shall also inform Class Members of
             their estimated Individual Settlement Amount. Should the Class List not contain a
             Class Member’s e-mail address or last known telephone number, the Claims
             Administrator shall take all reasonable steps to obtain the correct address of any
             Class Members for whom the notice is returned by the post office as
             undeliverable and shall attempt re-mailings as described below in Section 2.6(D).


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            Defendants’ Counsel and Class Counsel have the right to make inquiries and
            receive any information from the Claims Administrator related to the claims
            administration process.

      (E)   If any Notices, IRS Forms W-9 or Claim Forms are returned as undeliverable, the
            Claims Administrator shall forward them to any forwarding addresses provided
            by the U.S. Postal Service. If no such forwarding address is provided, the Claims
            Administrator shall perform one (1) skip trace to attempt to obtain the most recent
            addresses for these Class Members. The Claims Administrator shall, within ten
            (10) calendar days after the first mailing of Notice, notify Class Counsel and
            Defendants’ Counsel of the any corrected or updated addresses.

      (F)   The Claims Administrator shall notify Class Members who submit deficient claim
            forms (“Deficient Claimants”) of the deficiency within five (5) business days of
            receipt. Deficient Claimants will have until the later of the Claim Form Deadline
            or fifteen (15) days from the date the notice of deficiency is postmarked to cure
            said deficiency. If the deficiency is not cured by the Deficient Claimant within
            this time period, the Deficient Claimant’s claim will be waived and he/she will
            not receive any monies under this Agreement, but the Deficient Claimant will still
            be bound by the release in this Agreement, unless the deficiency is excused by
            mutual written agreement between Class Counsel and Defendants’ Counsel.

      (G)   Each Class Member must submit his/her completed Claim Form to the Settlement
            Claims Administrator no later than the Claim Form Deadline in order to receive
            his or her Individual Settlement Amount. For Claim Forms submitted by first
            class mail, the postmark date of the Claim Form mailed by the Settlement Claims
            Administrator to the Class Member and the postmark date of the Claim Form
            mailed by the Class Member to the Settlement Claims Administrator shall be
            deemed the exclusive means for determining whether a Class Member timely
            submitted his/her Claim Form.

      (H)   Only those Class Members who timely complete and return a Claim Form and
            IRS Form W-9 as set forth herein will be deemed Claimants. The Named
            Plaintiffs who sign this Agreement will be deemed Claimants even if they do not
            submit a Claim Form. Any money unclaimed from the Settlement Common Fund
            will either remain with Defendants, or, if the money has already been transferred
            to the QSF, revert back to Defendants.

      (I)   Defendants will instruct managers at Il Mulino who have contact with Class
            Members who are current employees of Defendants to not discourage Class
            Members from participating in this settlement and to instruct Class Members who
            may have questions about the settlement to review the Court-approved Notice.

2.7   Class Member Opt-outs.

      (A)   Class Members who choose to opt-out of the settlement as set forth in this
            Agreement must mail, via First Class United States Mail, postage prepaid, a



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            written, signed statement to the Settlement Claims Administrator that states he or
            she is opting out of the settlement, and include his or her name, job title, address,
            and telephone number, and state: “I opt out of the Il Mulino wage and hour
            settlement” (“Opt-out Statement”). To be effective, such Opt-Out Statements
            must be postmarked by the Claim Form Deadline.

      (B)   The Settlement Claims Administrator will stamp the date received on the original
            of each Opt-out Statement that it receives, if any, and shall serve copies of each
            Opt-out Statement on Class Counsel and Defendants’ Counsel not later than three
            (3) days after receipt thereof. The Settlement Claims Administrator will also,
            within three (3) days of the end of the Opt-out Period, file with the Clerk of Court,
            stamped copies of any Opt-out Statements. The Settlement Claims Administrator
            will, within 24 hours of the end of the Opt-out Period, send a final list of all Opt-
            out Statements it received to Class Counsel and Defendants’ Counsel by e-mail.
            The Settlement Claims Administrator will retain the stamped originals of all Opt-
            out Statements and originals of all envelopes accompanying Opt-out Statements
            in its files until such time as the Settlement Claims Administrator is relieved of its
            duties and responsibilities under this Agreement.

      (C)   If more than 5% of Class Members choose to exclude themselves in writing from
            participating in the class settlement Agreement by filing an Opt-out Statement
            described under this Agreement, then Defendants shall have the option, to be
            exercised within 10 calendar days following the date on which the Settlement
            Claims Administrator notifies the parties of the Class Members that have timely
            opted-out of this Agreement by the Claim Form Deadline, of revoking this
            Agreement and proceeding with the case as if no settlement has been attempted.
            In that event, the Settlement Claims Administrator is required to distribute the full
            amount of the Settlement Common Fund, less any earned Administration Fees
            through that time, back to Defendants within five (5) days of Defendants’ exercise
            of this option. The Parties thereafter shall have no further rights or obligations
            under this Agreement.
2.8   Objections to Settlement.

      (A)   Class Members who wish to present objections to the proposed settlement
            Agreement at the Fairness Hearing must first do so in writing. To be considered,
            such objections must be submitted to the Claims Administrator by the Claim
            Form Deadline. The statement must include all reasons for the objection and any
            reasons not included in the statement will not be considered. The statement must
            also include the name, job title, address, e-mail address, and telephone number for
            the Class Member making the objection. The Settlement Claims Administrator
            will stamp the date received on the original and send copies of each objection to
            Class Counsel and Defendants’ Counsel by e-mail no later than three (3) days
            after receipt thereof. The Settlement Claims Administrator will also file the date-
            stamped originals of any and all objections with the Court within three (3) days
            after the end of the Opt-out Period.




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       (B)    An individual who files objections to the settlement Agreement (“Objector”) also
              has the right to appear at the Fairness Hearing either in person or through counsel
              hired by the Objector. An Objector who wishes to appear at the Fairness Hearing
              must state his or her intention to do so in writing on his or her written objections
              at the time he or she submits his or her written objections. An Objector may
              withdraw his or her objections at any time. No Objector may present an objection
              at the Fairness Hearing based on a reason not stated in his or her written
              objections. A Class Member who has submitted an Opt-out Statement may not
              submit objections to the Settlement Agreement.

       (C)    The parties may file with the Court written responses to any filed objections no
              later than three (3) days before the Fairness Hearing.

2.9    Motion for Judgment and Final Approval. No later than seven (7) days before the
       Fairness Hearing, Plaintiffs will submit a Motion for Judgment and Final Approval.
       Defendants will not oppose the Final Approval Motion provided it is consistent with the
       terms of this Settlement Agreement. The Fairness Hearing shall be held at the Court’s
       convenience.

2.10   Entry of Judgment. At the Fairness Hearing, the Parties will request that the Court,
       among other things, (a) dismiss the Litigation with prejudice against all Defendants in
       accordance with the terms of this Agreement, (b) approve the settlement Agreement as
       fair, adequate, reasonable, and binding on all Class Members who do not successfully
       opt-out, (c) enter an order permanently enjoining all Class Members from pursuing
       and/or seeking to reopen claims that have been released by this Agreement by
       incorporating the terms of this Agreement, and (d) retain jurisdiction to enforce the terms
       of the Agreement.

2.11   Effect of Failure to Grant Final Approval. In the event the Court denies the Motion
       for Final Approval, the Parties jointly agree to seek reconsideration of the ruling or will
       endeavor to renegotiate the terms of the settlement and enter into a new settlement
       agreement, addressing the issues raised by the Court. Should reconsideration be denied
       and/or the Parties’ attempt to renegotiate the settlement and then secure Court approval of
       a renegotiated settlement be denied, the Parties will return to their positions prior to
       entering into the Agreement and the case will proceed as if no settlement had been
       attempted.

3. SETTLEMENT TERMS

3.1    Settlement Common Fund.

       (A)    Defendants agree to pay One Million Five Hundred Thousand Dollars and Zero
              Cents ($1,500,000.00) towards the settlement, and Defendants IMNY GS LLC
              d/b/a Il Mulino Tribeca, GFB Restaurant Corp. d/b/a Il Mulino Downtown,
              Wonderful Restaurant LLC d/b/a Il Mulino Uptown, IM 60 Street LLC, K.G. IM
              Management, LLC, Brian Galligan and Gerald Katzoff agree to pay the Final
              Payable Amount, if any, towards the settlement, to fund up to the maximum



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            settlement amount of Two Million Five Hundred Thousand Dollars and Zero
            Cents ($2,500,000.00), which shall fully resolve and satisfy any claim for
            attorneys’ fees and costs approved by the Court, any and all amounts to be paid to
            Claimants, any Court-approved Service Awards to Named Plaintiffs, any fees and
            costs associated with investing and liquidating the Qualified Settlement Fund, and
            the Settlement Claims Administrator’s fees and costs. Defendants will not be
            required to pay more than Two Million Five Hundred Thousand Dollars and Zero
            Cents ($2,500,000.00) under the terms of this Agreement, except that the
            employers’ share of applicable taxes shall be borne by Defendants and not
            deducted from the Settlement Common Fund, and Defendants Pasta Perfect LLC,
            Il Mulino USA, and IM LLC-1 shall not be required to contribute to the payment
            to the Settlement Common Fund to the extent the payment exceeds One Million
            Five Hundred Thousand Dollars and Zero Cents ($1,500,000.00).

      (B)   Defendants shall fund the Qualified Settlement Fund in three installments, as
            follows:

            (1)    Defendants shall cause the first installment payment of One Million
                   Dollars ($1,000,000.00) to be paid to the Settlement Claims Administrator
                   on or before August 12, 2020;

            (2)    Defendants shall cause the second installment payment of Five Hundred
                   Thousand Dollars ($500,000.00) to be paid to the Settlement Claims
                   Administrator on or before October 15, 2020;

            (3)    The third installment payment shall consist of the total Final Payable
                   Amount, if any, less any amounts already paid to the Settlement Claims
                   Administrator. Defendants IMNY GS LLC, GFB Restaurant Corp.,
                   Wonderful Restaurant LLC, K.G. IM Management, LLC, IM 60 Street
                   LLC, Brian Galligan and Gerald Katzoff shall cause the fourth installment
                   payment to be paid to the Settlement Claims Administrator within thirty
                   (30) days after the Claim Form Deadline.

      (C)   If the first installment payment is not funded by August 12, 2020 (as set forth in
            subparagraph 3.1(B)(1)), Plaintiffs shall have the option, to be exercised by
            August 24, 2020, of revoking this Agreement and proceeding with the case as if
            no settlement has been attempted.

3.2   Amounts Payable as Attorneys’ Fees and Costs.

      (A)   Prior to the Fairness Hearing, Class Counsel shall petition the Court for
            reimbursement of their reasonable litigation costs and expenses from the
            Settlement Fund. In addition, Class Counsel shall petition the Court for no more
            than one-third of the Settlement Common Fund, after costs, as an award of
            attorneys’ fees. Defendants will not oppose such applications. Defendants shall
            have no additional liability for attorneys’ fees and costs.




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      (B)   The substance of Class Counsel’s application for attorneys’ fees and costs is not
            part of this Agreement and is to be considered separately from the Court’s
            consideration of the fairness, reasonableness, adequacy, and good faith of the
            Agreement settling the Litigation. The outcome of any proceeding related to
            Class Counsel’s application for attorneys’ fees and costs shall not terminate this
            Agreement or otherwise affect the Court’s ruling on the Motion for Judgment and
            Final Approval. Any reduction by the Court of Class Counsel’s application for
            attorneys’ fees and costs shall become part of the Net Settlement Fund.

3.3   Service Awards to Named Plaintiffs.

      (A)   In return for services rendered to the Class Members, at the Fairness Hearing,
            Named Plaintiffs Argudo and Sanay will each apply to the Court to receive no
            more than Ten Thousand Dollars and Zero Cents ($10,000.00) from the QSF as
            Service Awards and in consideration for signing the Agreement.

      (B)   The outcome of the Court’s ruling on the application for the Service Awards will
            not terminate this Agreement or otherwise affect the Court’s ruling on the Motion
            for Final Approval or for Final Judgment and Dismissal. Should all or part of any
            Service Award sought not be approved by the Court, the amount not approved
            shall become part of the Net Settlement Fund.

      (C)   In consideration for receipt of the Service Award, if any, and their respective
            shares of the QSF, Named Plaintiffs and Opt-in Plaintiffs agree to the release set
            forth in Section 4.1(C).

3.4   Net Settlement Fund and Distribution to Class Members.

      (A)   The allocation to Claimants for Settlement Checks will be made from the Net
            Settlement Fund.

      (B)   A Class Member’s proportionate share of the Net Settlement Fund will be
            determined by the Settlement Claims Administrator pursuant to the following
            terms:

            (1)    The Net Settlement Fund shall be distributed among Class Members who
                   worked at the five (5) Il Mulino locations during the Relevant Statutory
                   Period.

            (2)    Notwithstanding the formula agreed upon by the Parties as set forth in
                   subparagraph (3) below, no Claimant will be awarded a payment that is
                   less than the Alternative Minimum Benefit, which equals Fifty Dollars
                   ($50.00). In the event that any Claimant’s award must be increased to the
                   Alternative Minimum Benefit the difference shall be borne proportionately
                   by other Claimants.

            (3)    The Net Settlement Fund shall be allocated according to the following
                   formula:


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            (a) The Tip Credit Fund: The Tip Credit Fund shall constitute 70% of
                the Net Settlement Fund. This fund shall be further divided into two
                separate subfunds whereby one subfund will be divided between Class
                Members who worked at Il Mulino between January 1, 2012 and
                December 31, 2014 (“Period A”) and the second subfund will be
                divided between Class Members who worked at Il Mulino between
                January 1, 2015 and the date the Court enters the Preliminary
                Approval Order (“Period B”). These funds shall be allocated
                according to the following formulas:

                   (i)     The Period A Tip Credit Fund: The Period A Tip Credit
                           Fund shall constitute 17.5% of the Net Settlement Fund
                           (i.e., 25% of the Tip Credit Fund) and shall be allocated to
                           each Class Member on the basis of the percentages set forth
                           in “Exhibit E.”

                   (ii)    The Period B Tip Credit Fund: The Period B Tip Credit
                           Fund shall constitute 52.5% of the Net Settlement Fund
                           (i.e., 75% of the general Tip Credit Fund) and shall be
                           allocated as follows: (1) compute the total amount of hours
                           worked by each Class Member during Period B; (2)
                           multiply the total amount of hours worked by each Class
                           Member during Period B by one point; (3) compute the
                           total number of points assigned to all Class Members; (4)
                           divide each Class Member’s individual points total into the
                           sum of all the Class Members’ points; (5) multiply the
                           amount derived in (4) by the dollar amount in the Tip
                           Credit Fund to determine each Class Member’s potential
                           individual Tip Credit Fund benefit.

                   (iii)   Class Members who may have worked at Il Mulino during
                           time periods covered by both Period A and Period B shall
                           be entitled to receive an individual benefit from both the
                           Period A Tip Credit Fund and the Period B Tip Credit
                           Fund.

            (b) The WTPA Notice Fund: The WTPA Notice Fund shall constitute
                25% of the Net Settlement Fund and shall be allocated to each Class
                Member on the basis of the percentages set forth in “Exhibit F.”

            (c) The Trattoria Subclass Fund: The Trattoria Subclass Fund shall
                constitute 5% of the Net Settlement Fund and shall be allocated to
                Subclass Members only according to the following formula: (1)
                compute the total amount of tips earned by each Subclass Member
                during the Limitations Period; (2) multiply the total number of tips
                earned by each Subclass Member during the Limitations Period by one
                point; (3) compute the total number of points assigned to all Subclass


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                       Members; (4) divide each Subclass Member’s individual points total
                       into the sum of all the Subclass Members’ points; (5) multiply the
                       amount derived in (4) by the dollar amount in the Tip Credit Fund to
                       determine each Subclass Member’s potential Trattoria Subclass Fund
                       benefit.

      (C)   In the event a Class Member believes the information the Settlement Claims
            Administrator relied on to calculate their Individual Settlement Amount was in
            error, the Class Member may raise their concerns with Class Counsel. If Class
            Counsel believes there is merit to any such concerns, they will bring these
            concerns to Defendants’ counsel’s attentions and the Parties will work together to
            resolve the issue.

      (D)   The Parties and the Claims Administrator shall exchange such information as is
            necessary for the Claims Administrator to make proper tax withholdings and
            comply with tax reporting obligations as described in Section 3.5.

      (E)   Only those Class Members that have submitted a timely Claim Form (with a valid
            IRS Form W-9 enclosed) will be able to participate as Claimants and receive a
            portion of the Net Settlement Fund.

      (F)   The Claims Administrator shall mail to all Claimants their share of the Net
            Settlement Fund. The Claims Administrator shall use reasonable efforts to make
            an additional mailing to Claimants whose checks are returned because of incorrect
            addresses. Such efforts shall include using social security numbers to obtain
            updated address information. Participating Class Members who do not return
            timely Claim Forms (with a valid IRS Form W-9 enclosed) will not receive any
            distribution from the Net Settlement Fund.

      (G)   Claimants will have one hundred thirty (130) calendar days after each check date
            to redeem their settlement payment check. If a Claimant does not redeem their
            settlement payment check within the 130-day period, their settlement checks will
            be void and a stop-payment will be placed. In such event, the Claims
            Administrator shall remit any such Claimant’s uncashed check amount to the
            Defendants.

3.5   Tax Characterization.

      (A)   For tax purposes, the payments to Claimants pursuant to Section 3.4 will be
            allocated as follows for tax purposes: (i) 50% in consideration for time worked as
            back-wage payments and/or wage income subject to W-2 reporting, and (ii) 50%
            in consideration for liquidated damages, statutory fines and interest as non-wage
            payments subject to 1099 reporting.

      (B)   Payments treated as back wages pursuant to Section 3.5(A) shall be made net of
            all applicable employment taxes, including, without limitation, federal, state and
            local income tax withholding and the employee share of the FICA tax, and shall
            be reported to the Internal Revenue Service (“IRS”) and the payee under the


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            payee’s name and social security number on an IRS Form W-2. The employers’
            share of applicable taxes shall be borne by Defendants and not deducted from the
            Settlement Common Fund. Payments of attorneys’ fees and costs pursuant to
            Section 3.2 shall be made without withholding. Class Counsel will receive an IRS
            Form 1099 for this payment of attorneys’ fees and costs, and individual Claimants
            shall receive a Form 1099 with their pro rata share for their payment of liquidated
            damages. Any Service Award payments pursuant to Section 3.3 shall be made
            without withholding and reported to the IRS and the payee under the payee’s
            name and social security number on an IRS Form 1099.

      (C)   The Claims Administrator shall be responsible for making all withholdings from
            Claimants’ settlement payments required pursuant to any federal, state, or local
            tax law or regulation, with respect to the amounts treated as wages pursuant to
            Section 3.5(A).

      (D)   Each individual Claimant will be solely responsible for all taxes, interest and
            penalties due with respect to any payment received pursuant to this Agreement,
            other than FICA tax and any federal and state unemployment tax due that are
            traditionally borne by employers. The Named Plaintiffs, on behalf of the Class,
            acknowledge and agree that they have not relied upon any advice from
            Defendants as to the taxability of the payments received pursuant to this
            Agreement.

4. RELEASE

4.1   Release of Claims.

      (A)   Release of State Claims. Upon the Order Granting Final Approval, and except
            as to such rights or claims as may be created by this Agreement, each
            Participating Class Member, on his or her behalf, and on behalf of his or her
            respective current, former and future heirs, spouses, executors, administrators,
            agents, and attorneys, fully releases and discharges Defendants, Defendants’
            present and former parent companies, subsidiaries, related or affiliated companies,
            shareholders, officers, directors, members, managers, co-joint venture, employees,
            fiduciaries, trustees, employee benefit plan administrators, agents, attorneys,
            insurers, successors and assigns, and all persons or entities acting by, through,
            under or in concert with any of them, and any individual or entity which could be
            jointly liable with any of them (“Releasees”), from any claims under the New
            York Labor Law, New York Wage Theft Prevention Act and/or any applicable
            New York State Wage Order, including but not limited to claims related to the
            time they worked at Il Mulino, claims for unpaid wages, overtime pay, unpaid
            tips, failure to maintain and furnish employees with proper wage records,
            paystubs, and/or notices, and all other claims that were or could have been
            asserted in the Litigation under New York State wage and hour laws and
            employment laws, whether known or unknown, through the date of execution of
            this Agreement by the Named Plaintiffs, including but not limited to New York



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      State law claims for overtime, unpaid wages, unpaid tips, interest, liquidated
      damages, and attorneys’ fees and costs related to such claims.

(B)   Release of Claimants’ Federal Claims. In addition, each Claimant, on his or her
      behalf, and on behalf of his or her respective current, former and future heirs,
      spouses, executors, administrators, agents, and attorneys, forever and fully
      releases Defendants and Releasees from any FLSA claims relating to the time
      they worked at Il Mulino, including claims for unpaid wages and/or overtime
      wages, unpaid tips, liquidated damages, and attorneys’ fees and costs related to
      such claims, that were or could have been asserted in the Litigation, whether
      known or unknown, through the date each respective Claimant signs a Claim
      form.

(C)   Release of Named Plaintiffs’ Claims.

      (1)    General Release. In addition to the waiver and release contained in
             4.1(A)-(B) above, Named Plaintiffs knowingly and voluntarily, on their
             behalf and on behalf of their respective current, former and future heirs,
             spouses, executors, administrators, agents, and attorneys, fully releases
             and discharges Releasees from any and all claims arising up to and as of
             the date of this Agreement, both known and unknown, which the Named
             Plaintiffs have or may have against Releasees relating to the time they
             worked at Il Mulino including, but not limited to, any alleged violation of:
             Title VII of the Civil Rights Act of 1965; The Civil Rights Act of 1991;
             Sections 1981 through 1988 of Title 42 of the United States Code; The
             Equal Pay Act; The Employee Retirement Income Security Act of 1974;
             The Immigration Reform and Control Act; The Consolidated Omnibus
             Budget Reconciliation Act; The Age Discrimination in Employment Act;
             The Americans with Disabilities Act of 1990; Fair Labor Standards Act,
             29 U.S.C. § 201 et seq.; The Fair Credit Reporting Act; The Sarbanes
             Oxley Act; The Occupational Safety and Health Act; The New York
             Corrections Law, including Sections 750-755 thereof; The Family and
             Medical Leave Act of 1993; The New York Labor Law; The New York
             Wage Theft Prevention Act; The New York State Human Rights Law; The
             New York Civil Rights Law; The New York City Human Rights Law;
             NYC Administrative Code, and any other federal, state, and/or local law
             or ordinance. This release includes all claims for all damages arising from
             any such released claims, including claims for liquidated damages,
             penalties, interest, and attorneys’ fees’ and costs.

       (2)   Revocation. Named Plaintiffs both represent that they have been advised
             to consult legal counsel regarding this Agreement prior to their execution
             of the same and that they have been represented by Joseph &
             Kirschenbaum LLP. Named Plaintiffs each further represent that they
             have been provided the opportunity of at least twenty-one (21) days to
             consider, execute and return this Agreement. To the extent any Named
             Plaintiff executes this Agreement before that twenty-one (21) day period


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             expires, s/he freely and voluntarily elects to forgo waiting twenty-one (21)
             days prior to execution and acknowledges that (a) the benefits provided in
             this Agreement are available notwithstanding her/his choice to waive, or
             not waive this period and (b) that this waiver was not in any way coerced
             or compelled by any of the Releasees.
             (a) Named Plaintiffs each acknowledge and represent that they fully
                 understand all of the provisions of this Agreement, have had the
                 opportunity to ask questions and are executing same freely and
                 voluntarily.

             (b) Named Plaintiffs each further understand that they can revoke their
                 acceptance by communicating such revocation in writing, via e-mail,
                 so as to be received by the Defendants’ Counsel at the addresses set
                 forth below within seven (7) days of her/his execution of the
                 Agreement.

                             Defendants’ Counsel

                             Amanda M. Fugazy, Esq. (afugazy@egsllp.com)
                             Ilan Weiser, Esq. (iweiser@egsllp.com)
                             Ellenoff Grossman & Schole LLP

             (c) In the event that any Named Plaintiff revokes their signature to the
                 Agreement, such Named Plaintiff shall forfeit their entitlement to
                 receive a Service Award pursuant to paragraph 3.3.

(D)   Defendants’ Release of claims against Named Plaintiffs. Defendants, in
      consideration of each Named Plaintiff’s Released Claims as set forth in
      Paragraphs 4.1(A)-(C) above and for other promises and covenants contained in
      this Agreement, releases and forever discharges each Named Plaintiff, and his or
      her respective current, former, and future heirs, executors, administrators,
      fiduciaries, insurers, agents, attorneys, successors, and assigns, and all persons
      acting by, through, under, or in concert with any of them, in their individual or
      representative capacities from all actions, causes of action, claims, and demands
      whatsoever, whether known or unknown, whether asserted or unasserted, in law
      or equity, whether statutory or common law, whether federal, state, local, or
      otherwise, including, but not limited to, any claims related to or arising out of any
      aspect of Named Plaintiffs’ purported employment and/or employment with
      Defendants, any agreement concerning such employment, or the termination of
      such employment, which the Defendants ever had, now have, or hereafter can,
      will, or may have, for, upon, or by reason of any matter, cause, or thing
      whatsoever from the beginning of the world to the date of the respective Named
      Plaintiff’s execution of this Agreement, including, but not limited to claims
      arising under all Federal, State and local statutes, regulations, decisional law and
      ordinances and all contract and tort laws.



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      (E)    Release of Fees and Costs for Settled Matters. Class Counsel and Named
             Plaintiffs, on behalf of the Class and each individual Class Member and Claimant,
             hereby irrevocably and unconditionally release, acquit, and forever discharge any
             claim that they may have against Defendants for attorneys’ fees or costs
             associated with Class Counsel’s representation of the Named Plaintiffs, the Class,
             and/or the Claimants in this Litigation. Class Counsel further understand and
             agree that any fee payments approved by the Court will be the full, final and
             complete payment of all attorneys’ fees and costs associated with Class Counsel’s
             representation of these individuals in this Litigation.

      (F)    Non-Admission of Liability. By entering into this Agreement, Defendants in no
             way admit any violation of law or any liability whatsoever to Named Plaintiffs
             and/or the Class, individually or collectively, with all such liability being
             expressly denied. Rather, Defendants enter into this Agreement to avoid further
             protracted litigation and to resolve and settle all disputes with Named Plaintiffs
             and the Class. Settlement of the Litigation, negotiation and execution of this
             Agreement, and all acts performed or documents executed pursuant to or in
             furtherance of this Agreement or the settlement: (a) are not, shall not be deemed
             to be, and may not be used as an admission or evidence of any wrongdoing or
             liability on the part of Defendants or of the truth of any of the factual allegations
             in any and all Complaints filed in the Lawsuit; and (b) are not, shall not be
             deemed to be, and may not be used as an admission or evidence of fault or
             omission on the part of Defendants in any civil, criminal, administrative or
             arbitral proceeding. The Parties understand and agree that this Agreement is a
             settlement document and shall be inadmissible in evidence in any proceeding,
             except an action or proceeding to approve, interpret, or enforce the terms of the
             Agreement.

5. INTERPRETATION AND ENFORCEMENT

5.1   Cooperation Between the Parties; Further Acts. The Parties and their respective
      counsel shall reasonably cooperate with each other and shall use their reasonable best
      efforts to obtain the Court’s approval of this Agreement and all of its terms. Each party,
      upon the request of any other party, agrees to perform such further acts and to execute
      and deliver such other documents as are reasonably necessary to carry out the provisions
      of this Agreement.

5.2   No Assignment. Class Counsel and Named Plaintiffs represent and warrant that they
      have not assigned or transferred, or purported to assign or transfer, to any person or
      entity, any claim or any portion thereof or interest therein, including, but not limited to,
      any interest in the Litigation, or any related action.

5.3   Entire Agreement. This Agreement constitutes the entire agreement between the Parties
      with regard to the subject matter contained herein, and all prior and contemporaneous
      negotiations and understandings between the parties shall be superseded by this
      Agreement.



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5.4    Binding Effect. This Agreement is a binding agreement and contains all material
       agreed-upon terms, subject to court approval.

5.5    Arms’ Length Transaction; Materiality of Terms. The Parties have negotiated all the
       terms and conditions of this Agreement at arms’ length, including participating in a
       mediation session. All terms and conditions of this Agreement in the exact form set forth
       in this Agreement are material to this Agreement and have been relied upon by the
       Parties in entering into this Agreement, unless otherwise expressly stated.

5.6    Captions. The captions or headings of the Sections and paragraphs of this Agreement
       have been inserted for convenience of reference only and shall have no effect upon the
       construction or interpretation of any part of this Agreement.

5.7    Construction. The determination of the terms and conditions of this Agreement has
       been by mutual agreement of the Parties. Each party participated jointly in the drafting of
       this Agreement, and therefore the terms and conditions of this Agreement are not
       intended to be, and shall not be, construed against any party by virtue of draftsmanship.

5.8    Blue Penciling. If any provision of this Agreement, with the exception of the release
       terms contained in Section 4 and the payment amount schedule contained in Section
       3.1(A), is held by a court of competent jurisdiction to be void, voidable, unlawful or
       unenforceable, the remaining portions of this Agreement will remain in full force and
       effect, and the parties will make all reasonable efforts to renegotiate the provisions(s)
       held void, voidable, unlawful or unenforceable, and enter into a new Agreement on terms
       similar to those herein so that such provision(s) will be upheld.

5.9    Governing Law. This Agreement shall in all respects be interpreted, enforced and
       governed by and under the laws of the State of New York, without regard to choice of
       law principles, except to the extent that the law of the United States governs any matter
       set forth herein, in which case such federal law shall govern.

5.10   Continuing Jurisdiction. The Court shall retain jurisdiction over the interpretation and
       implementation of this Agreement as well as any and all matters arising out of, or related
       to, the interpretation or implementation of this Agreement and of the settlement
       contemplated thereby. The Court shall not have jurisdiction or authority to modify the
       terms of the Agreement or to increase Defendants’ payment obligations hereunder.

5.11   Remedies for Breach. Should any party breach the terms of this Agreement as
       determined by the Court which retains jurisdiction over enforcement of this Agreement,
       the non-breaching party shall be entitled, in addition to any other legal and equitable
       remedies which may be available, to recover all costs and attorneys’ fees incurred by
       such non-breaching party in enforcing the terms of this Agreement.

5.12   Waivers, etc. to Be in Writing. No waiver, modification or amendment to the terms of
       this Agreement, whether purportedly made before or after the Court’s approval of this
       Agreement, shall be valid or binding unless in writing, signed by or on behalf of all
       Named Plaintiffs and Defendants, and then only to the extent set forth in such written
       waiver, modification or amendment, subject to any required Court approval. Any failure


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       by any party to insist upon the strict performance by the other party of any of the
       provisions of this Agreement shall not be deemed a waiver of future performance of the
       same provisions or of any of the other provisions of this Agreement, and such party,
       notwithstanding such failure, shall have the right thereafter to insist upon the specific
       performance of any and all of the provisions of this Agreement.

5.13   When Agreement Becomes Enforeceable; Counterparts. This Agreement shall
       become enforceable upon the execution of all signatories below. The Parties may
       execute this Agreement in counterparts, and execution in counterparts shall have the
       same force and effect as if all Parties had signed the same instrument.

5.14   Signatures of Defendants and Plaintiffs. This Agreement is valid and binding if signed
       by the all Defendants and Named Plaintiffs.

5.15   Facsimile and Email Signatures. Any signature made and transmitted by facsimile or
       email for the purpose of executing this Agreement shall be deemed an original signature
       for purposes of this Agreement and shall be binding upon the party whose counsel
       transmits the signature page by facsimile or email.


PLAINTIFFS:

                                          HENRY ARGUDO


_______________________             By: _______________________________
Date                                     Henry Argudo


                                          DIEGO SANAY


_______________________              By: _______________________________
Date                                     Diego Sanay



DEFENDANTS
                                          IMNY GS LLC d/b/a IL MULINO TRIBECA


_______________________              By: _______________________________
Date                                     Name:
                                         Title:




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               EXHIBIT A
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       COVER LETTER (to be sent on Settlement Claims Administrator letterhead)
DATE


NAME
ADDRESS
CITY, STATE ZIP CODE


       Re:    NOTICE OF CLASS ACTION SETTLEMENT AGAINST
              IL MULINO RESTAURANTS IN MANHATTAN
              (Argudo, et al v. Parea Group LLC, No. 18 CV 678)

Dear [NAME],

        According to Il Mulino’s records, you worked as a tipped food-service employee at an Il
Mulino restaurant in Manhattan during the time period covered by a class action lawsuit for
unpaid wages. The Parties have reached a settlement in that lawsuit under which you are eligible
to receive a portion of the settlement. Enclosed herein is a Court approved Notice, Claim Form
and Form W-9. In order to receive payment under the settlement, you must sign the two
enclosed forms entitled “CLASS MEMBER CLAIM FORM” and “SUBSTITUTE FORM
W-9 REQUEST FOR TAXPAYER IDENTIFICATION NUMBER.” You will not receive
money from the settlement unless you submit a Claim Form and IRS Form W-9 by
[DATE]. In order to receive your settlement amount, both these forms must be mailed or
emailed to the addresses listed in the Claims Form.

       For full information about the settlement and how to claim your share of the settlement,
please contact the employees’ attorney Josef Nussbaum at (212) 688-5640 or jnussbaum@jk-
llp.com.

                                                           Sincerely,
                                                           [Settlement Claims Administrator]
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      NOTICE OF PROPOSED CLASS ACTION LAWSUIT SETTLEMENT
                     AND FAIRNESS HEARING

TO:    PERSONS WHO WORKED AS A FOOD-SERVICE EMPLOYEE AT AN
       IL MULINO RESTAURANT IN MANHATTAN BETWEEN JANUARY 26,
       2012 AND [DATE OF PRELIMINARY APPROVAL].


Based on information in the records of Il Mulino restaurants, you were employed as food-
service employee at an Il Mulino restaurant in Manhattan between January 26, 2012 and
[DATE OF PRELIMINARY APPROVAL]. and are entitled to participate in the
proposed settlement of the case captioned Argudo et al v. Parea Group LLC, et al, 18 CV
678 (S.D.N.Y.) (the “Lawsuit”). The Lawsuit was brought by Henry Argudo and Diego
Sanay against IMNY GS LLC d/b/a Il Mulino Tribeca, GFB Restaurant Corp. d/b/a Il
Mulino Downtown, Wonderful Restaurant LLC d/b/a Il Mulino Uptown, K.G. IM
Management, LLC, Pasta Perfect LLC, IM 60 Street, Il Mulino USA, IM LLC-I, Brian
Galligan, and Gerald Katzoff (collectively “Defendants” or “Il Mulino”).

Under the terms of the settlement, you may claim money under the Settlement. A
CLAIM FORM IS ENCLOSED WITH THIS NOTICE. YOU WILL RECEIVE
MONEY FROM THIS SETTLEMENT ONLY IF YOU RETURN THE
ATTACHED CLAIM FORM AND A VALID AND FULLY EXECUTED IRS
FORM W-9 TO THE CLAIMS ADMINISTRATOR ON OR BEFORE [INSERT
DATE].

                  1. WHAT IS THE PURPOSE OF THIS NOTICE?

PLEASE READ THIS NOTICE CAREFULLY. It contains important information
about your rights concerning the settlement of the Lawsuit. If the Court approves the
Settlement Agreement, each Class Member will be bound by its terms unless he/she
affirmatively opts-out of the Settlement Agreement.

The Court has ordered that this Notice be sent to you to inform you of your rights under
the Settlement Agreement resolving the Lawsuit.

                          2. WHAT IS THIS CASE ABOUT?

The Lawsuit asserts claims under the Fair Labor Standards Act (“FLSA”) and New York
Labor Law (“NYLL”) alleging that Il Mulino failed to properly compensate certain front
of the house food-service employees at its Manhattan, NY locations for all hours worked,
including overtime for hours worked in excess of forty per workweek. The Lawsuit also
alleges that employees were not provided with the appropriate notices that Il Mulino was
required to provide them with. Finally, the Lawsuit alleges that—at the Trattoria Il
Mulino location—Defendants misappropriated portions of employees’ tips, by forcing
them to share tips with individuals who did not perform customer service.
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Defendants deny these allegations in their entirety and maintain that all food-service
employees were paid properly and received all monies owed. The Parties have entered
into this Settlement Agreement solely with the intention to avoid further disputes and
litigation with the attendant inconvenience and expense. The Court has not made any
ruling on the merits of the claims in the Lawsuit, and no party has prevailed in this action.

                       3. WHO IS INCLUDED IN THE CLASS?

The Parties have agreed to settle the Lawsuit for a class consisting of all food-service
employees employed at certain Il Mulino locations in Manhattan between January 26,
2012 and [THE DATE OF PRELIMINARY APPROVAL] (“Class Members”). You
have received this notice because Il Mulino has identified you as a Class Member based
on their records.

4. HOW WILL MY SHARE OF THE SETTLEMENT FUND BE CALCULATED?

If the Settlement Agreement is given final approval by the Court, Defendants will pay up
to a maximum of $2,500,000.00 in total settlement funds. If the Court also approves the
payments set forth below, the following payments and expenses will be deducted from
the $2,500,000.00 prior to distribution of the settlement funds to Claimants:

       1.      Attorneys’ Fees and Costs: Class Counsel will apply to the Court for
               recovery of costs and attorneys’ fees of one-third of the Settlement Fund
               after deducting their costs. This amount will be requested pursuant to the
               Named Plaintiffs’ professional services agreement.

       2.      Service Awards: If the Court approves such payments, $10,000 will be
               paid to the Named Plaintiffs Henry Argudo and Diego Sanay.

       3.      Claims Administrator Costs: Class Counsel will apply to the Court for
               recovery of all costs of administration of this settlement.

       4.      If the Court approves the payments listed above, the remaining Settlement
               Fund (the “Net Settlement Fund”) will be allocated to Class Members
               based on the wages they earned and amount of time they worked as food-
               service staff between January 26, 2012 and [THE DATE OF
               PRELIMINARY APPROVAL].

       •       No Class Member will be allocated a settlement share that is less than $50.

       •       Once checks are issued they will be valid for only 130 days.

       •       For more information about how individual settlement awards are
               calculated, you may contact Class Counsel, Josef Nussbaum at Joseph &
               Kirschenbaum LLP, 32 Broadway, Suite 601, New York, NY 10004 at
               212-688-5640 or jnusbsaum@jk-llp.com.


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       •       If you do nothing, you will remain part of the case, not receive
               payment and still be bound by the terms of this Settlement
               Agreement.

           5. HOW CAN I COLLECT MY SHARE OF THE SETTLEMENT?

In order to collect your share of the settlement, you must fill out the enclosed Claim
Form and IRS Form W-9. If you do not fill out a Claim Form or do not provide an
IRS Form W-9, you will not receive any money from this settlement. Attached to this
Notice is a Claim Form and IRS Form W-9 which you must fill out and mail, postmarked
on or before _________________,_______ , to:

                          CLAIMS ADMINISTRATOR’S INFO

You may also email the Claim Form and IRS Form W-9 to Josef Nussbaum at
jnussbaum@jk-llp.com or to [tpa info] on or before _________________,_______ .

Il Mulino cannot retaliate against you for participating in this Settlement and/or filing a
Claim Form.

It is your responsibility to retain proof of timely mailing or submission of a Claim Form
and IRS Form W-9 until receipt of your settlement payment. If you move, you must send
the Claims Administrator your new address. It is your responsibility alone to provide a
forwarding address to the United States Post Office and your current address to the
Claims Administrator.

If you are found eligible to participate in the Settlement, you should not expect to receive
any payment until the Settlement is final, which will likely be several months away.

            6. WHAT IS THE LEGAL EFFECT OF THE SETTLEMENT?

Upon the Order Granting Final Approval of the Settlement Agreement, and except as to
such rights or claims as may be created by this it, each Participating Class Member, on
his or her behalf, and on behalf of his or her respective current, former and future heirs,
spouses, executors, administrators, agents, and attorneys, fully releases and discharges
Defendants, Defendants’ present and former parent companies, subsidiaries, related or
affiliated companies, shareholders, officers, directors, members, managers, co-joint
venture, fiduciaries, trustees, employee benefit plan administrators, agents, attorneys,
insurers, successors and assigns, and all persons or entities acting by, through, under or in
concert with any of them, and any individual or entity which could be jointly liable with
any of them (“Releasees”), from any claims under the New York Labor law and/or any
applicable New York State Wage Order or local law, including but not limited to, claims
related to the time they worked at Il Mulino, claims for unpaid wages and/or tips,
overtime pay, failure to maintain and furnish employees with proper wage records,
paystubs, and/or notices, liquidated damages, attorneys’ fees and costs, and all other


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claims that were or could have been asserted in the Lawsuit under state wage and hour or
employment laws, whether known or unknown, through the date of preliminary approval,
including but not limited to state law claims for overtime, unpaid wages/tips, interest,
liquidated damages, and attorneys’ fees and costs related to such claims.

In addition, if you sign and return a Claim Form that is accepted pursuant to this
Settlement, you, on your own behalf, and on behalf of your respective current, former and
future heirs, spouses, executors, administrators, agents, and attorneys, will forever and
fully release Defendants and Releasees from any FLSA claims relating to the time you
worked at Il Mulino in Manhattan, claims for unpaid wages and/or overtime wages,
unpaid tips, liquidated damages, and attorneys’ fees and costs related to such claims, that
were or could have been asserted in the Litigation, whether known or unknown, through
the date you sign the Claim Form.


            7. HOW DO I OPT OUT OF THE SETTLEMENT CLASS?

You have the option of opting-out of the Settlement Agreement if you do not want to
participate in the Settlement or be bound by the release of claims described above. To
opt-out of the Settlement Agreement you must do so by _____________________. If
you do not opt out, you will be bound by the terms of the Settlement Agreement. To opt
out, you must mail a signed letter which specifically states, “I elect to exclude myself
from the settlement in Argudo, et al. v. Parea Group, LLC, et al., Case No. 18 Civ. 678”
postmarked no later than ______________. You must include your name and address in
the letter. If you choose to opt out, send your letter to:

                             [CLAIMS ADMINISTRATOR]

         8. WHAT IF I HAVE AN OBJECTION TO THE SETTLEMENT?

If you have not opted out of the Settlement, and if you wish to present objections to the
proposed settlement at the Fairness Hearing, you must first do so in writing. You are not
required to submit an objection. Written objections must be postmarked no later than
______________ and sent to:
                            [CLAIMS ADMINISTRATOR]

Written objections must contain your name and address, must be signed by you, and must
include reference to the matter of Argudo, et al. v. Parea Group, LLC, et al., Case No. 18
Civ. 678. If you opt-out of the settlement, you may not also object to the settlement.

                      9. WHEN IS THE FAIRNESS HEARING?

A hearing before the Honorable Jesse M. Furman, U.S.D.J., will be held on
________________________ at ______ at the United States District Court for the
Southern District of New York, 40 Foley Square, New York, NY 10007 (the “Fairness
Hearing”). The purpose of this hearing will be for the Court to determine whether the


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Settlement Agreement is fair, adequate, and reasonable and should be approved by the
Court. The Court will take into account any comments or objections filed in accordance
with the procedures described above.

                 10. HOW CAN I EXAMINE COURT RECORDS?

This Notice does not contain all of the terms of the proposed Settlement or all of the
details of these proceedings. For more detailed information, you are advised to refer to
the underlying documents and papers on file with the Court.

Additionally, if you have questions about this Notice or want additional information, you
can contact Josef Nussbaum of Joseph & Kirschenbaum LLP at 212-688-5640 or
jnussbaum@jk-llp.com or the Claims Administrator at the address/phone number listed
above.




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                EXHIBIT B
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                              CLASS MEMBER CLAIM FORM
             Argudo, et al. v. Parea Group, LLC, et al., Case No. 18 Civ. 678 (JMF)
  TO SHARE IN THE SETTLEMENT, YOU MUST COMPLETE, SIGN AND RETURN THIS
  CLAIM FORM AND THE ENCLOSED IRS FORM W-9. YOU WILL NOT RECEIVE ANY
 PAYMENT FROM THE SETTLEMENT UNLESS YOU SUBMIT BOTH THIS CLAIM FORM
 AND THE IRS FORM W-9. THE CLAIM FORM MUST BE POSTMARKED OR E-MAILED
                      NO LATER THAN ____________, ____

                                           MAIL TO:
                            Argudo, et al. v. Parea Group, LLC, et al.
                                 [CLAIMS ADMINISTRATOR]
                                   [ADDRESS / PHONE/FAX]

                                          E-MAIL TO:
                                        Josef Nussbaum
                                     jnussbaum@jk-llp.com

The records of Il Mulino indicate that you were employed by Il Mulino in Manhattan as a tipped
food-service employee between January 26, 2012 and [THE DATE OF PRELIMINARY
APPROVAL]. Based on the hours you worked according to Il Mulino’s records, your estimated
Individual Settlement Amount is approximately ______________. Please note that this is just an
estimate and is subject to change.

By signing and returning this form and the enclosed IRS Form W-9, you are claiming your
Individual Settlement Amount and opting-in to the above-captioned lawsuit brought to recover
wages under the Fair Labor Standards Act and New York Labor Law.
By signing and returning this form an the IRS Form W-9, you acknowledge that you are
releasing claims against Defendants and Releasees, as set forth in greater detail in the Notice of
Settlement.
Date:
                                           (Sign your name here)

                                              CORRECTIONS OR ADDITIONAL INFORMATION
                                           Write any name and address corrections below if any is
                                           necessary OR if there is no preprinted data to the left, please
                                           provide your name and address here:




Daytime Telephone Number:                     Evening Telephone Number:
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                              SUBSTITUTE FORM W-9 REQUEST FOR TAXPAYER
                               IDENTIFICATION NUMBER AND CERTIFICATION

       In order to satisfy your tax reporting obligations related to any payment you may receive for the
       Argudo, et al v. Parea Group LLC et al. settlement to the IRS, please complete and return this
       Substitute IRS Form W-9 to the Third Party Administrator at the address or email address listed
       above no later than ____________, ____.

       Thank you,
       [Third Party Administrator]

                                        TAXPAYER IDENTIFICATION NUMBER



Name (as shown on your income tax return): ____________________________________________________


Exempt payee code (if any)______________ Exemption from FATCA reporting code (if any)_____________


Enter your social security number: _____ _____ _____ - _____ _____ - _____ _____ _____ _____

CERTIFICATION

Under penalties of perjury, I certify that:

1.      The number shown on this form is my correct taxpayer identification number (or I am waiting for a
        number to be issued to me); and

2.      I am not subject to backup withholdings because: (a) I am exempt from backup withholdings, or (b) I
        have not been notified by the Internal Revenue Service (IRS) that I am subject to backup withholdings
        as a result of failure to report all interest or dividends, or (c) the IRS has notified me that I am no longer
        subject to backup withholdings, and

3.      I am a U.S. person (including a U.S. resident alien), and

4.      The FATCA code(s) entered on this form (if any) indicating that I am exempt from FATCA reporting
        is correct


        ___________________________________                                            _________________________
        W-9 Signature                                                                  W-9 Signature Date

 Note: If you have been notified by the IRS that you are subject to backup withholdings, you must cross out item two above. The IRS does not
 require your consent to any provision of this document other than this Form W-9 certification to avoid backup withholdings.
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               EXHIBIT C
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                           PROPOSED E-MAIL NOTICE

        Subject: NOTICE OF CLASS ACTION SETTLEMENT AGAINST IL
                 MULINO (Argudo, et al. v. Parea Group, LLC, et al., Case No. 18
                 Civ. 678 (JMF))

According to Il Mulino’s records, you worked as a tipped, food-service employee at an Il
Mulino restaurant in Manhattan, NY from January 26, 2012 through the present, and
covered by in a class action settlement for unpaid wages and are eligible to receive a
portion of the settlement. For full information about the settlement and how to claim
your share of the settlement, please see the attached notice, claim form and IRS W-9
Form. You may also contact the employees’ attorney Josef Nussbaum at (212) 688-5640
or jnussbaum@jk-llp.com. You will not receive money from the settlement unless you
submit a signed and completed claim form and IRS Form W-9 by [DATE].
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               EXHIBIT D
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Body of the text message to Class Members:

According to Il Mulino’s records, you worked as a tipped, food-service employee at an Il
Mulino restaurant in Manhattan, NY from January 26, 2012 through the present, and
covered by in a class action settlement for unpaid wages and are eligible to receive a
portion of the settlement. For additional information about the case, including how to
join, please contact the employees’ attorney Josef Nussbaum at (212) 688-5640 or
jnussbaum@jk-llp.com.

Spanish translation:

Si trabajó como empleado de servicio de alimentos con propina en un restaurante Il
Mulino en Manhattan, NY en cualquier momento entre el 26 de enero de 2012 y el
presente, puede unirse a una demanda que reclama salarios no pagados. Para obtener
información adicional sobre el caso, incluido cómo unirse, comuníquese con el abogado
de los empleados Josef Nussbaum al (212) 688-5640 o jnussbaum@jk-llp.com.
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                EXHIBIT E
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                                              Days.     Total.Days.    Percentage.
    Employee            DOH        DOT       Worked.    Worked.by.    of.Total.Days.
                                            (Max.561)     Group          Worked
    Errico,(Mario      1/28/12   12/31/14    561.00     69016.00        0.8129%
  Meira,Valdemir        8/5/12   12/31/14    561.00     69016.00        0.8129%
  Meira,Valdemir        8/5/12   12/31/14    561.00     69016.00        0.8129%
 Hossain,(Alomgir      8/12/12    9/28/14    561.00     69016.00        0.8129%
 Hossain,(Alomgir      8/12/12    9/28/14    561.00     69016.00        0.8129%
  Jaramillo,(Selso     8/19/12    7/27/13    342.00     69016.00        0.4955%
  Jaramillo,(Selso     8/19/12    7/27/13    342.00     69016.00        0.4955%
   Tello,(Edison(P     8/26/12    3/31/14    561.00     69016.00        0.8129%
   Tello,(Edison(P     8/26/12    3/31/14    561.00     69016.00        0.8129%
 Bukarica,(Zdenko       9/5/12   12/31/14    561.00     69016.00        0.8129%
 Bukarica,(Zdenko       9/5/12   12/31/14    561.00     69016.00        0.8129%
 Cimpean,(Claudiu       9/5/12   12/31/14    561.00     69016.00        0.8129%
 Cimpean,(Claudiu       9/5/12   12/31/14    561.00     69016.00        0.8129%
    Ghita,(Ionela       9/5/12   12/31/14    561.00     69016.00        0.8129%
    Ghita,(Ionela       9/5/12   12/31/14    561.00     69016.00        0.8129%
Gjonbalaj,(Reggiano     9/5/12   12/31/14    561.00     69016.00        0.8129%
Gjonbalaj,(Reggiano     9/5/12   12/31/14    561.00     69016.00        0.8129%
Mambelli,(Christian     9/5/12   12/31/14    561.00     69016.00        0.8129%
Mambelli,(Christian     9/5/12   12/31/14    561.00     69016.00        0.8129%
  Meira,(Valdemir       9/5/12   12/31/14    561.00     69016.00        0.8129%
  Meira,(Valdemir       9/5/12   12/31/14    561.00     69016.00        0.8129%
      Pera,(Leo         9/5/12   12/31/14    561.00     69016.00        0.8129%
      Pera,(Leo         9/5/12   12/31/14    561.00     69016.00        0.8129%
 Quizpi,(Wilson(R       9/5/12   12/31/14    561.00     69016.00        0.8129%
 Quizpi,(Wilson(R       9/5/12   12/31/14    561.00     69016.00        0.8129%
 Sanchez,(Ricardo       9/5/12   12/31/14    561.00     69016.00        0.8129%
 Sanchez,(Ricardo       9/5/12   12/31/14    561.00     69016.00        0.8129%
Tenezaca,(Manuel(S      9/5/12   12/31/14    561.00     69016.00        0.8129%
Tenezaca,(Manuel(S      9/5/12   12/31/14    561.00     69016.00        0.8129%
    Yupa,(Javier        9/5/12   12/31/14    561.00     69016.00        0.8129%
    Yupa,(Javier        9/5/12   12/31/14    561.00     69016.00        0.8129%
    Yupa,(Javier        9/5/12   12/31/14    561.00     69016.00        0.8129%
    Yupa,(Javier        9/5/12   12/31/14    561.00     69016.00        0.8129%
    Jara,(Hector        9/6/12    2/20/13    167.00     69016.00        0.2420%
    Jara,(Hector        9/6/12    2/20/13    167.00     69016.00        0.2420%
Penafiel,(Franklin(E   9/12/12    4/25/13    225.00     69016.00        0.3260%
Penafiel,(Franklin(E   9/12/12    4/25/13    225.00     69016.00        0.3260%
 Zhindon,(Damian       9/12/12    12/1/12    80.00      69016.00        0.1159%
 Zhindon,(Damian       9/12/12    12/1/12    80.00      69016.00        0.1159%
   Rojas,(Cristian     9/14/12     1/6/13    114.00     69016.00        0.1652%
   Rojas,(Cristian     9/14/12     1/6/13    114.00     69016.00        0.1652%
   Blake,(Hassan       9/16/12     2/1/13    138.00     69016.00        0.2000%


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                                              Days.     Total.Days.    Percentage.
    Employee           DOH         DOT       Worked.    Worked.by.    of.Total.Days.
                                            (Max.561)     Group          Worked
   Blake,(Hassan      9/16/12      2/1/13    138.00     69016.00        0.2000%
   Criollo,(Jorge     9/16/12    12/31/14    561.00     69016.00        0.8129%
   Criollo,(Jorge     9/16/12    12/31/14    561.00     69016.00        0.8129%
Espinoza,(Efrain(A    9/18/12      1/8/13    112.00     69016.00        0.1623%
Espinoza,(Efrain(A    9/18/12      1/8/13    112.00     69016.00        0.1623%
Marquez,(Segundo      9/18/12    12/31/14    561.00     69016.00        0.8129%
Marquez,(Segundo      9/18/12    12/31/14    561.00     69016.00        0.8129%
Marquez,(Segundo      9/18/12    12/31/14    561.00     69016.00        0.8129%
Marquez,(Segundo      9/18/12    12/31/14    561.00     69016.00        0.8129%
   Djsevic,(Elvis     9/19/12    12/14/13    451.00     69016.00        0.6535%
   Djsevic,(Elvis     9/19/12    12/14/13    451.00     69016.00        0.6535%
  Avila,(Franklin(I   9/21/12     2/20/13    152.00     69016.00        0.2202%
  Avila,(Franklin(I   9/21/12     2/20/13    152.00     69016.00        0.2202%
Cabrera,(Manuel(B     9/23/12     3/31/14    554.00     69016.00        0.8027%
Cabrera,(Manuel(B     9/23/12     3/31/14    554.00     69016.00        0.8027%
Collaguazo,(Abel(R    9/23/12      8/9/13    320.00     69016.00        0.4637%
Collaguazo,(Abel(R    9/23/12      8/9/13    320.00     69016.00        0.4637%
 Espinoza,(Ruben      9/30/12      5/2/13    214.00     69016.00        0.3101%
 Espinoza,(Ruben      9/30/12      5/2/13    214.00     69016.00        0.3101%
   Alvarez,(Ivan      10/1/12    12/31/14    561.00     69016.00        0.8129%
   Alvarez,(Ivan      10/1/12    12/31/14    561.00     69016.00        0.8129%
 Hernandez,(Rene      10/15/12    3/31/14    532.00     69016.00        0.7708%
 Hernandez,(Rene      10/15/12    3/31/14    532.00     69016.00        0.7708%
 Molina,(Windsor      10/15/12    1/23/13    100.00     69016.00        0.1449%
 Molina,(Windsor      10/15/12    1/23/13    100.00     69016.00        0.1449%
   Salsiniia,(Roy     10/15/12    2/12/13    120.00     69016.00        0.1739%
   Salsiniia,(Roy     10/15/12    2/12/13    120.00     69016.00        0.1739%
  Dutan,(Romulo       10/19/12    1/10/13    83.00      69016.00        0.1203%
  Dutan,(Romulo       10/19/12    1/10/13    83.00      69016.00        0.1203%
 Caguate,(Carlos(E    10/23/12   12/31/14    561.00     69016.00        0.8129%
 Caguate,(Carlos(E    10/23/12   12/31/14    561.00     69016.00        0.8129%
  Enache,(Andrei      10/23/12    5/17/13    206.00     69016.00        0.2985%
  Enache,(Andrei      10/23/12    5/17/13    206.00     69016.00        0.2985%
  Villota,(Gary(B     11/1/12     3/20/13    139.00     69016.00        0.2014%
  Villota,(Gary(B     11/1/12     3/20/13    139.00     69016.00        0.2014%
Gonzales,(Antonio     11/6/12    10/28/13    356.00     69016.00        0.5158%
Gonzales,(Antonio     11/6/12    10/28/13    356.00     69016.00        0.5158%
Loforese,(Giuliana    12/17/12     3/2/13    75.00      69016.00        0.1087%
Loforese,(Giuliana    12/17/12     3/2/13    75.00      69016.00        0.1087%
  Carrillo,(Martin     2/9/13    12/31/14    561.00     69016.00        0.8129%
  Carrillo,(Martin     2/9/13    12/31/14    561.00     69016.00        0.8129%

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                                                Days.     Total.Days.    Percentage.
      Employee            DOH        DOT       Worked.    Worked.by.    of.Total.Days.
                                              (Max.561)     Group          Worked
  Remache,(Edison        2/16/13   12/31/14    561.00     69016.00        0.8129%
  Remache,(Edison        2/16/13   12/31/14    561.00     69016.00        0.8129%
    Duran,(Hernan        3/14/13   12/31/14    561.00     69016.00        0.8129%
    Duran,(Hernan        3/14/13   12/31/14    561.00     69016.00        0.8129%
    Saldava,(Silvio      5/20/13   12/31/14    561.00     69016.00        0.8129%
    Saldava,(Silvio      5/20/13   12/31/14    561.00     69016.00        0.8129%
   Mulic,(Mirsada        5/24/13   12/31/14    561.00     69016.00        0.8129%
   Mulic,(Mirsada        5/24/13   12/31/14    561.00     69016.00        0.8129%
   Busillo,(Michael      6/18/13   12/31/14    561.00     69016.00        0.8129%
    Gomez,(Mario         6/18/13   12/31/14    561.00     69016.00        0.8129%
    Gonzalez,(Luis       6/18/13   12/31/14    561.00     69016.00        0.8129%
  Navarette,(Felipe      6/18/13   12/31/14    561.00     69016.00        0.8129%
   Negron,(Carlos        6/18/13   12/31/14    561.00     69016.00        0.8129%
    Nelson,(Henry        6/18/13   12/31/14    561.00     69016.00        0.8129%
     Portillo,(Luis      6/18/13   12/31/14    561.00     69016.00        0.8129%
   Qorkadiu,(Trim        6/18/13   12/31/14    561.00     69016.00        0.8129%
  Rodriguez,(Mario       6/18/13   12/31/14    561.00     69016.00        0.8129%
      Rojas,(Raul        6/18/13   12/31/14    561.00     69016.00        0.8129%
   Zecevic,(Miljan       6/18/13   12/31/14    561.00     69016.00        0.8129%
   Chirinos,(Mario        7/7/13   12/31/14    542.00     69016.00        0.7853%
   Chirinos,(Mario        7/7/13   12/31/14    542.00     69016.00        0.7853%
   Davydova,(Olga         7/7/13   12/31/14    542.00     69016.00        0.7853%
   Davydova,(Olga         7/7/13   12/31/14    542.00     69016.00        0.7853%
     Fikru,(Shuba        7/20/13    9/30/14    437.00     69016.00        0.6332%
     Fikru,(Shuba        7/20/13    9/30/14    437.00     69016.00        0.6332%
   Patino,(Alfredo        8/1/13     2/1/14    184.00     69016.00        0.2666%
     Sanay,(Diego         8/4/13   12/31/14    514.00     69016.00        0.7448%
  Ronkainen,(Logan        8/7/13   12/31/14    511.00     69016.00        0.7404%
  Hernandez,(Rene        8/15/13    9/14/13    30.00      69016.00        0.0435%
    Bermeo,(Juan         8/19/13     5/3/14    257.00     69016.00        0.3724%
     Cuellar,(Desi       8/19/13    7/12/14    327.00     69016.00        0.4738%
  Guilfucci,(Megan       8/19/13    9/28/13    40.00      69016.00        0.0580%
Morales,(Marco(Antonio   8/19/13   12/31/14    499.00     69016.00        0.7230%
  Ougribe,(Hakima        8/19/13    9/20/14    397.00     69016.00        0.5752%
  Portillo,(Christian    8/19/13   12/31/14    499.00     69016.00        0.7230%
   Ramirez,(Atonio       8/26/13    1/18/14    145.00     69016.00        0.2101%
    Rivera,(Angel        8/27/13    8/23/14    361.00     69016.00        0.5231%
    Rivera,(Jamie        8/27/13   12/31/14    491.00     69016.00        0.7114%
     Fadali,(Sarra       8/28/13   12/31/14    490.00     69016.00        0.7100%

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                                              Days.     Total.Days.    Percentage.
    Employee           DOH         DOT       Worked.    Worked.by.    of.Total.Days.
                                            (Max.561)     Group          Worked
  Panora,(Manuel       8/28/13    1/11/14    136.00     69016.00        0.1971%
 Anderson,(Narciso      9/1/13     7/5/14    307.00     69016.00        0.4448%
    Flores,(Diana       9/4/13     1/4/14    122.00     69016.00        0.1768%
     Garcia,(Rey        9/7/13    3/15/14    189.00     69016.00        0.2738%
Gjonbalaj,(Leutrim      9/7/13    5/24/14    259.00     69016.00        0.3753%
  Gutierez,(Marco       9/9/13   12/31/14    478.00     69016.00        0.6926%
 Gutierrez,(Marco       9/9/13   12/31/14    478.00     69016.00        0.6926%
   Heras,(Bolivar       9/9/13    2/22/14    166.00     69016.00        0.2405%
   Heras,(Bolivar       9/9/13    2/22/14    166.00     69016.00        0.2405%
    Miah,(Jubair       9/10/13   10/18/14    403.00     69016.00        0.5839%
 Varbanciu,(Ciprian    9/10/13    8/16/14    340.00     69016.00        0.4926%
   Dailey,(Robert      9/12/13    4/19/14    219.00     69016.00        0.3173%
     Flores,(Joel      9/12/13    6/21/14    282.00     69016.00        0.4086%
Papagiani,(Thanassi    9/13/13     4/5/14    204.00     69016.00        0.2956%
    Bakalli,(Arvit     9/16/13   10/25/13    39.00      69016.00        0.0565%
    Taza,(Carlos       9/16/13   12/31/14    471.00     69016.00        0.6825%
    Taza,(Carlos       9/16/13   12/31/14    471.00     69016.00        0.6825%
Mehmedovic,(Hariz      9/20/13     6/7/14    260.00     69016.00        0.3767%
 Gjonbalaj,(Pajtim     9/23/13   10/12/13    19.00      69016.00        0.0275%
   Ariza,(Alberto      9/28/13   10/25/13    27.00      69016.00        0.0391%
  Markovic,(Goran      9/30/13    7/26/14    299.00     69016.00        0.4332%
   Teles,(Rodolfo      9/30/13   12/21/13    82.00      69016.00        0.1188%
Truscello,(Nicholas    9/30/13    6/14/14    257.00     69016.00        0.3724%
   Xhaferi,(Genci      9/30/13    12/6/14    432.00     69016.00        0.6259%
   Leinwand,(Eric      10/2/13   10/18/13    16.00      69016.00        0.0232%
Martinez,(Guillermo    10/7/13   12/31/14    450.00     69016.00        0.6520%
  Mustafaj,(Almir      10/7/13   12/14/13    68.00      69016.00        0.0985%
      Rojas,(Luis      10/7/13     3/1/14    145.00     69016.00        0.2101%
    Sukaj,(Anton       10/7/13   12/31/14    450.00     69016.00        0.6520%
  Keller,(Berkeley    10/14/13   12/31/14    443.00     69016.00        0.6419%
  Rosas,(Carmelo      10/15/13     3/8/14    144.00     69016.00        0.2086%
  Marin,(Julian(D     10/21/13   12/31/14    436.00     69016.00        0.6317%
       Diaz,(Ivo      10/24/13   11/23/13    30.00      69016.00        0.0435%
  Offerman,(Jose       11/6/13    11/1/14    360.00     69016.00        0.5216%
  Padilla,(Manuel     11/11/13     2/1/14    82.00      69016.00        0.1188%
 Urbina,(Leonardo     11/17/13   12/21/13    34.00      69016.00        0.0493%
     Calle,(Jaime     11/25/13    1/18/14    54.00      69016.00        0.0782%
     Garcia,(Rey        1/1/14   12/31/14    364.00     69016.00        0.5274%
     Garcia,(Rey        1/1/14   12/31/14    364.00     69016.00        0.5274%

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                                                     Days.     Total.Days.    Percentage.
        Employee               DOH        DOT       Worked.    Worked.by.    of.Total.Days.
                                                   (Max.561)     Group          Worked
        Sanchez,(Eddy          1/1/14   12/31/14    364.00     69016.00        0.5274%
        Sanchez,(Eddy          1/1/14   12/31/14    364.00     69016.00        0.5274%
        Saula,(Milton          1/1/14   12/31/14    364.00     69016.00        0.5274%
        Saula,(Milton          1/1/14   12/31/14    364.00     69016.00        0.5274%
         Wong,(Jose(L          1/1/14   12/31/14    364.00     69016.00        0.5274%
         Wong,(Jose(L          1/1/14   12/31/14    364.00     69016.00        0.5274%
      Rodriquez,(Rafael        1/8/14     2/1/14    24.00      69016.00        0.0348%
      Huerta,(Rolando         1/10/14   10/31/14    294.00     69016.00        0.4260%
      Huerta,(Rolando         1/10/14   10/31/14    294.00     69016.00        0.4260%
     Dyevoich,(Vincent         3/5/14   12/28/14    298.00     69016.00        0.4318%
        Binakaj,Rrona         3/23/14   10/11/14    202.00     69016.00        0.2927%
        Voshki(Korab          5/18/14    7/19/14    62.00      69016.00        0.0898%
       Gjonbalaj,(Edon        5/19/14   12/31/14    226.00     69016.00        0.3275%
Gutierrez(cMoctezuma,(Fredy   5/19/14   12/31/14    226.00     69016.00        0.3275%
       Markovic,(Peter        5/19/14   12/31/14    226.00     69016.00        0.3275%
         Meci,(Endrit         5/19/14   12/31/14    226.00     69016.00        0.3275%
      Movileanu,(Liviu        5/19/14   12/31/14    226.00     69016.00        0.3275%
         Errico,(Mario        5/22/14   12/31/14    223.00     69016.00        0.3231%
        Caceres,(Hugo         5/24/14   12/31/14    221.00     69016.00        0.3202%
 Bermeo,((Patricio)(Walter    5/27/14    6/14/14    18.00      69016.00        0.0261%
      Bermeo,(Patricio        5/27/14   12/31/14    218.00     69016.00        0.3159%
       Bermeo,(Walter         5/27/14   12/31/14    218.00     69016.00        0.3159%
     Brezinsky,(Stephan       5/27/14    9/30/14    126.00     69016.00        0.1826%
     Romano,(Trinidad         5/28/14    6/30/14    33.00      69016.00        0.0478%
       Tapia,(Miguel(A        5/28/14   12/31/14    217.00     69016.00        0.3144%
        Djesevic,(Elvis        6/1/14   12/31/14    213.00     69016.00        0.3086%
         Calle,(Joseph         6/6/14   12/31/14    208.00     69016.00        0.3014%
   GutierrezcFlorez,(Jose      6/6/14   12/31/14    208.00     69016.00        0.3014%
        Carangui,(Paul         6/8/14    7/19/14    41.00      69016.00        0.0594%
       Orlando,(Justin         6/8/14    6/21/14    13.00      69016.00        0.0188%
       Brandi,(Salvator       6/15/14    7/12/14    27.00      69016.00        0.0391%
      Portillo,(Christian     6/17/14   12/31/14    197.00     69016.00        0.2854%
      Redrovan,(Carlos        6/17/14   12/31/14    197.00     69016.00        0.2854%
       Secolo,(Angelo         6/17/14    6/30/14    13.00      69016.00        0.0188%
      Sudru,(Alexandru        6/17/14    9/30/14    105.00     69016.00        0.1521%
       Dedusevic,Gzim          7/1/14    9/30/14    91.00      69016.00        0.1319%
    Mambelli,(Cameron          7/1/14   12/31/14    183.00     69016.00        0.2652%
       Rezaul,(Jaimee          7/1/14    9/30/14    91.00      69016.00        0.1319%
        Rojas,(Jessica         7/1/14    9/30/14    91.00      69016.00        0.1319%

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                                            Days.     Total.Days.    Percentage.
   Employee           DOH        DOT       Worked.    Worked.by.    of.Total.Days.
                                          (Max.561)     Group          Worked
 Huerta,Rolando      7/14/14    9/30/14    78.00      69016.00        0.1130%
Cabrera,(Benjamin    8/12/14   12/31/14    141.00     69016.00        0.2043%
 Cortes,(Marcos      10/1/14   12/31/14    91.00      69016.00        0.1319%
  Flores,(Cesar      10/1/14   12/31/14    91.00      69016.00        0.1319%
  Pejovic,(Filip     10/1/14   12/31/14    91.00      69016.00        0.1319%
Lachowski,(Samer    12/22/14   12/31/14     9.00      69016.00        0.0130%
                                          69016.00                      1.00




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                EXHIBIT F
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                                                                                                                               Individual.
                                                                 NYLL.195(1). NYLL.195(3).                    Class.Wide.    Percentage.of.
             Employee          DOH         DOT       Days.Worked                             Total.Penalty
                                                                  Penalty      Penalty                       Penalty.Amt      ClasswIwide.
                                                                                                                                  Amt.
AAllali,'Karim                 8/2/18      8/3/18        2.00       $100.00     $500.00         $600.00      $4,170,050.00     0.01438832%
Ahmed,'MD'Murshad             7/11/18     9/16/18       68.00      $3,400.00   $5,000.00       $8,400.00     $4,170,050.00     0.20143643%
Ajala,'Malik                  6/18/18     11/24/18     160.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Ajeti,'Nol                    3/12/19     5/24/19       74.00      $3,700.00   $5,000.00       $8,700.00     $4,170,050.00     0.20863059%
Alarcon,'Joanna               12/11/18    12/11/18       1.00       $50.00      $250.00         $300.00      $4,170,050.00     0.00719416%
Albano,'Eric'John              4/5/19     4/10/19        6.00       $300.00    $1,500.00       $1,800.00     $4,170,050.00     0.04316495%
Alberico,'Francesco          9/11/2017   10/1/2017      21.00      $1,050.00   $5,000.00       $6,050.00     $4,170,050.00     0.14508219%
Alo,'Stefano                   1/1/15      5/1/15      121.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Alvarado,'Oswaldo             3/28/18     3/31/18        4.00       $200.00    $1,000.00       $1,200.00     $4,170,050.00     0.02877663%
Alvarez,'Adenawer             12/25/18     1/6/19       13.00       $650.00    $3,250.00       $3,900.00     $4,170,050.00     0.09352406%
Alvarez,'Ivan                  10/1/12      1/6/20     2654.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Alzate,'Nicolas'D             8/28/19     8/28/19        1.00       $50.00      $250.00         $300.00      $4,170,050.00     0.00719416%
Anderson,'Narciso              9/1/13      7/5/14      307.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Andrade,'Brandon'Xavier        12/5/19      1/6/20      33.00      $1,650.00   $5,000.00       $6,650.00     $4,170,050.00     0.15947051%
Anguiano,'Francisco           12/1/14     12/31/15     396.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Antonio,'Manuel               5/14/14     12/31/14     232.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
AparicioURomero,'Rodolfo'A    8/20/17     8/20/17        1.00       $50.00      $250.00         $300.00      $4,170,050.00     0.00719416%
Argudo'Piedra,'Henry'F        12/20/16    1/19/17       31.00      $1,550.00   $5,000.00       $6,550.00     $4,170,050.00     0.15707246%
Argudo,'Hasan'Roberto         12/5/19      1/6/20       33.00      $1,650.00   $5,000.00       $6,650.00     $4,170,050.00     0.15947051%
Argueta,'Ruby'A               5/10/18      6/1/18       23.00      $1,150.00   $5,000.00       $6,150.00     $4,170,050.00     0.14748025%
Ariza,'Alberto                9/28/13     10/25/13      28.00      $1,400.00   $5,000.00       $6,400.00     $4,170,050.00     0.15347538%
Aryani,'Sammi'Abdul'Ghani     8/13/18     10/23/18      72.00      $3,600.00   $5,000.00       $8,600.00     $4,170,050.00     0.20623254%
Avella,'Vito                  12/4/17      4/9/18      127.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Avila,'Franklin'I              9/21/12     2/20/13      153.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Axelbank,'Rachel               4/6/16     6/21/16       77.00      $3,850.00   $5,000.00       $8,850.00     $4,170,050.00     0.21222767%
Bakalli,'Arvit                9/16/13     10/25/13      40.00      $2,000.00   $5,000.00       $7,000.00     $4,170,050.00     0.16786369%
Bako,'Andrew                    4/4/13     5/14/13      41.00      $2,050.00   $5,000.00       $7,050.00     $4,170,050.00     0.16906272%
Bako,'Gerald'P                 6/4/18     10/24/18     143.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Barla,'Tudor                  12/15/14    3/17/15       93.00      $4,650.00   $5,000.00       $9,650.00     $4,170,050.00     0.23141209%
Barrera,'Davey                7/25/18     12/13/18     142.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Becerro,'Jorge                12/27/18    12/30/18       4.00       $200.00    $1,000.00       $1,200.00     $4,170,050.00     0.02877663%
Bektashi,'Milot               10/16/19    10/30/19      15.00       $750.00    $3,750.00       $4,500.00     $4,170,050.00     0.10791238%
Belpulsi,'Leonardo             5/23/19    10/12/19      143.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Bermeo,'(Patricio)'Walter     5/27/14     6/14/14       19.00       $950.00    $4,750.00       $5,700.00     $4,170,050.00     0.13668901%
Bermeo,'Juan                  8/19/13      5/3/14      258.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Bermeo,'Patricio              5/27/14      1/6/20      2051.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Bermeo,'Walter                5/27/14      1/6/20      2051.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Bernal,'Harold                12/26/16    10/13/17     292.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Bernal,'Harold                 2/3/13     12/31/15     1062.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Binakaj,Rrona                 3/23/14     10/11/14     203.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Blake,'Hassan                  9/16/12      2/1/13      139.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Boka,'Jeremy                   4/1/17     5/14/17       44.00      $2,200.00   $5,000.00       $7,200.00     $4,170,050.00     0.17265980%
Brancaleone,'Bruno            3/22/15      5/3/18      1139.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Brandi,'Salvator              6/15/14     7/12/14       28.00      $1,400.00   $5,000.00       $6,400.00     $4,170,050.00     0.15347538%
Brennan,'Thomas                8/9/15     12/31/15     145.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Brezinsky,'Stephan            5/27/14     9/30/14      127.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Bukarica,'Zdenko                9/5/12      1/6/20     2680.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Bunjaj,'Arjan                   4/5/15      5/1/15      27.00      $1,350.00   $5,000.00       $6,350.00     $4,170,050.00     0.15227635%
Buqaj,'Arben                  4/25/17     6/16/17       53.00      $2,650.00   $5,000.00       $7,650.00     $4,170,050.00     0.18345104%
Busillo,'Michael              6/18/13     4/30/16      1048.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Cabal,'Carlos'Andres'Reyes     9/26/11      1/6/20     3025.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Cabrera,'Benjamin             8/12/14     1/30/15      172.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Cabrera,'Benjamin             8/12/14      1/6/20      1974.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Cabrera,'Johnny               5/18/17     6/26/17       40.00      $2,000.00   $5,000.00       $7,000.00     $4,170,050.00     0.16786369%
Cabrera,'Manuel'B              9/23/12     3/31/14      555.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Cabrera,'Santiago              6/5/18     10/20/18     138.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Caceres,'Hugo                 5/24/14     12/31/14     222.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Caguana,'Pedro                 8/4/15     4/19/17      625.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Caguate,'Carlos'E             10/23/12      1/6/20     2632.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Calderone,'Alejandro            8/7/19      1/6/20      153.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Calero,'Francisco              1/1/09     6/30/15      2372.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Calia,'Nicolas                11/16/16      1/6/20     1147.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Calle'Franco,'Raul            9/27/19     9/28/19        2.00       $100.00     $500.00         $600.00      $4,170,050.00     0.01438832%
Calle'Tacuri,'Juan'Rene        1/3/18     4/14/18      102.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Calle,'Jaime                  11/25/13    1/18/14       55.00      $2,750.00   $5,000.00       $7,750.00     $4,170,050.00     0.18584909%
Calle,'Joseph                  6/6/14     12/31/14     209.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Calle,'Luis                    1/1/09     6/30/15      2372.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%

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                                                                                                                               Individual.
                                                                 NYLL.195(1). NYLL.195(3).                    Class.Wide.    Percentage.of.
             Employee           DOH        DOT       Days.Worked                             Total.Penalty
                                                                  Penalty      Penalty                       Penalty.Amt      ClasswIwide.
                                                                                                                                  Amt.
Campigotto,'Franco              5/15/13   6/15/13       32.00      $1,600.00   $5,000.00       $6,600.00     $4,170,050.00     0.15827148%
Canamares,'Eloy                2/26/19    3/11/19       14.00       $700.00    $3,500.00       $4,200.00     $4,170,050.00     0.10071822%
Cara,'Andrea                   11/1/18    11/2/18        2.00       $100.00     $500.00         $600.00      $4,170,050.00     0.01438832%
Carangui,'Paul                  6/8/14    7/19/14       42.00      $2,100.00   $5,000.00       $7,100.00     $4,170,050.00     0.17026175%
Cardillo,'Simone               12/28/18   5/25/19      149.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Carrillo,'Martin               2/9/2013 11/12/2017     1738.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Carrillo,'Pedro                 5/4/15     3/1/16      303.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Catrambone,'Caterina            7/7/18    7/13/18        7.00       $350.00    $1,750.00       $2,100.00     $4,170,050.00     0.05035911%
Cedeno,'Otto                   11/7/18    11/8/18        2.00       $100.00     $500.00         $600.00      $4,170,050.00     0.01438832%
Ceroti,'Gianni                 10/6/16   12/31/16       87.00      $4,350.00   $5,000.00       $9,350.00     $4,170,050.00     0.22421794%
Cervantes,'Gabriel              6/6/18   10/19/18      136.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Chahrour,'Sied                  3/5/19    3/19/19       15.00       $750.00    $3,750.00       $4,500.00     $4,170,050.00     0.10791238%
Chauca,'Carlos                  3/31/12   10/6/12      190.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Chavez,'Fausto                 4/14/14   12/31/14      262.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Chernykh,'Maksim'M             10/1/18   11/10/18       41.00      $2,050.00   $5,000.00       $7,050.00     $4,170,050.00     0.16906272%
Chiguil,'Rodrigo               4/13/16    6/30/16       79.00      $3,950.00   $5,000.00       $8,950.00     $4,170,050.00     0.21462572%
Chirinos,'Mario                7/7/2013 1/26/2018      1665.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Chowdhury,'Mozharul'Islam      11/27/18    1/1/19       36.00      $1,800.00   $5,000.00       $6,800.00     $4,170,050.00     0.16306759%
Chowdhury,'Taksim'Hasan         8/1/18     8/6/18        6.00       $300.00    $1,500.00       $1,800.00     $4,170,050.00     0.04316495%
Cimpean,'Claudiu                 9/5/12    1/6/20      2680.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Cintron,'Eduardo                7/6/18    8/14/18       40.00      $2,000.00   $5,000.00       $7,000.00     $4,170,050.00     0.16786369%
Clamani,'Alfredo               6/15/18    7/26/18       42.00      $2,100.00   $5,000.00       $7,100.00     $4,170,050.00     0.17026175%
Collaguazo,'Abel'R              9/23/12    8/9/13       321.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Conover,'Linda                 12/8/16   12/16/16        9.00       $450.00    $2,250.00       $2,700.00     $4,170,050.00     0.06474743%
Cordero,'Guiseppe               10/2/15   10/9/15        8.00       $400.00    $2,000.00       $2,400.00     $4,170,050.00     0.05755327%
Cordova,'Jorge                10/5/2016 12/31/2016      88.00      $4,400.00   $5,000.00       $9,400.00     $4,170,050.00     0.22541696%
Cordova,'Jorge                 2/21/14   12/31/14      314.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Cortes,'Marcos                 10/1/14    1/30/15      122.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Criollo,'Jorge                  9/16/12    1/6/20      2669.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Cuellar,'Desi                  8/19/13    7/12/14      328.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Cuentas'Acosta,'Jose           12/27/18  12/28/18        2.00       $100.00     $500.00         $600.00      $4,170,050.00     0.01438832%
Cuevas'Alavez,'Josue           8/30/19     1/6/20      130.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Dahlkemper,'Cristina            7/9/18   12/23/18      168.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Dailey,'Robert                 9/12/13    4/19/14      220.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Dashnor,'Gegaj                 3/11/19     1/6/20      302.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
David,'Elijah'Lee               1/3/19     1/3/19        1.00       $50.00      $250.00         $300.00      $4,170,050.00     0.00719416%
Davidson,'Lindsay              12/5/16   12/16/16       12.00       $600.00    $3,000.00       $3,600.00     $4,170,050.00     0.08632990%
Davidson,'Lindsay             6/13/2016 12/31/2016      202.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Davydova,'Olga                   7/7/13   9/25/15       811.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Decicco,'Michele                4/5/15    2/12/17      680.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Dedi,'Nikolin                   4/12/15    1/6/20      1731.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Dedusevic,Gzim                   7/1/14   9/30/14       92.00      $4,600.00   $5,000.00       $9,600.00     $4,170,050.00     0.23021307%
Dega,'Mariza                    2/12/18    1/6/20       694.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Dejanovic,'Miljan              10/18/16  12/31/16       75.00      $3,750.00   $5,000.00       $8,750.00     $4,170,050.00     0.20982962%
Del'Valle'Mendez,'William'J    3/14/18    3/23/18       10.00       $500.00    $2,500.00       $3,000.00     $4,170,050.00     0.07194158%
Delgado,'Kenny                 1/20/16    6/30/16      163.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Dell'Andrino,'Claudio           9/10/12    1/6/20      2675.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Dema,'Denis                    1/29/19     1/6/20      343.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Demianiv,'Alina                 3/22/15   7/16/15      117.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Deryuga,'Vladmir                1/1/15    6/30/15      181.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Deryuga,Vladimir                2/23/15   9/11/15      201.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Deschamps,'Jaroleen             1/1/15     1/1/15        1.00       $50.00      $250.00         $300.00      $4,170,050.00     0.00719416%
Desevic,'Albin                5/23/2019 6/23/2019       32.00      $1,600.00   $5,000.00       $6,600.00     $4,170,050.00     0.15827148%
Detoffol,'Dino                  6/15/09    9/8/12      1182.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Di'Mauro,'Alessandra           6/22/18    7/22/18       31.00      $1,550.00   $5,000.00       $6,550.00     $4,170,050.00     0.15707246%
DiazUGarcia,'Daniel            5/13/17    2/28/18      292.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Diaz,'Ivo                      10/24/13  11/23/13       31.00      $1,550.00   $5,000.00       $6,550.00     $4,170,050.00     0.15707246%
Dilorenzo,'Michael             5/22/15   12/31/15      224.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Dixon,'Darrel'Alan             10/19/19  10/20/19        2.00       $100.00     $500.00         $600.00      $4,170,050.00     0.01438832%
Djesevic,'Elvis                 6/1/14     1/6/20      2046.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Djsevic,'Elvis                  9/19/12  12/14/13       452.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Dominguez,Andres                 2/2/15   3/27/15       54.00      $2,700.00   $5,000.00       $7,700.00     $4,170,050.00     0.18465006%
Dorjsuren,'Erkhembat          5/25/2017 2/28/2018       280.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Ducu,'Vasile'T                 2/15/19    3/29/19       43.00      $2,150.00   $5,000.00       $7,150.00     $4,170,050.00     0.17146077%
Dulgeroff,'George               11/8/13   12/9/13       32.00      $1,600.00   $5,000.00       $6,600.00     $4,170,050.00     0.15827148%
Duran,'Hernan                 3/14/2013 7/13/2018      1948.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Dutan,'Romulo                  10/19/12   1/10/13       84.00      $4,200.00   $5,000.00       $9,200.00     $4,170,050.00     0.22062086%

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                                                                                                                                    Individual.
                                                                      NYLL.195(1). NYLL.195(3).                    Class.Wide.    Percentage.of.
             Employee                DOH        DOT       Days.Worked                             Total.Penalty
                                                                       Penalty      Penalty                       Penalty.Amt      ClasswIwide.
                                                                                                                                       Amt.
Dyevoich,'Vincent                    3/5/14   12/28/14      299.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Dyussembayev,'Alibek                1/30/19    2/22/19       24.00      $1,200.00   $5,000.00       $6,200.00     $4,170,050.00     0.14867927%
Elis,'Paul                          5/16/16    6/30/16       46.00      $2,300.00   $5,000.00       $7,300.00     $4,170,050.00     0.17505785%
Enache,'Andrei                      10/23/12   5/17/13       207.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Encalada,'Fabian'C                  11/14/16   5/25/18      558.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Encalada,'Fabian'Cornel            5/24/2018 6/24/2019       397.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Endri,'Simaku's/b'Simaku,'Endrit    10/16/17    6/1/18      229.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Errico,'Mario                       5/22/11    3/27/15      1406.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Errico,'Mario                        5/22/14    4/3/15      317.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Espinoza,'Efrain'A                   9/18/12    1/8/13       113.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Espinoza,'Ruben                      9/30/12    5/2/13       215.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Evangelista,'Eric'N                 1/11/19    1/19/19        9.00       $450.00    $2,250.00       $2,700.00     $4,170,050.00     0.06474743%
Fadali,'Sarra                       8/28/13    6/27/15      669.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Fareri,'Marc                        10/27/15  12/31/15       66.00      $3,300.00   $5,000.00       $8,300.00     $4,170,050.00     0.19903838%
Farrington,'Alexandra'J             9/13/16   12/31/16      110.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Fattorusso,'Joseph                   4/12/15    1/6/20      1731.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Ferillo,'Edoardo                    8/24/18    11/4/18       73.00      $3,650.00   $5,000.00       $8,650.00     $4,170,050.00     0.20743157%
Fernandez'Sanchez,'Cesar'Enrique    5/16/19    5/16/19        1.00       $50.00      $250.00         $300.00      $4,170,050.00     0.00719416%
Fikru,'Shuba                       7/20/2013 9/30/2014       438.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Fisher,'Erika'Mercedes              6/11/18     6/8/19      363.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Flores,'Cesar                        10/1/14   1/30/15      122.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Flores,'Diana                        9/4/13     1/4/14      123.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Flores,'Joel                        9/12/13    6/21/14      283.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Flores,'Marcos                      11/1/01   11/27/18      6236.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Flores,'Raul                        12/28/14   4/17/19      1572.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Flores,'Ruben                        3/2/18    3/18/18       17.00       $850.00    $4,250.00       $5,100.00     $4,170,050.00     0.12230069%
Foley,'Jeffrey                      3/25/14   12/31/14      282.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Forero'Olaya,'Jose'G                4/9/2018 4/13/2018        5.00       $250.00    $1,250.00       $1,500.00     $4,170,050.00     0.03597079%
Forero'Olaya,'Jose'G                4/25/18    5/18/18       24.00      $1,200.00   $5,000.00       $6,200.00     $4,170,050.00     0.14867927%
Forero,'Johan                       3/22/15    3/18/16      363.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Forlong,'Roy                        2/10/16    2/21/16       12.00       $600.00    $3,000.00       $3,600.00     $4,170,050.00     0.08632990%
Frabrizio,'Fragola                  7/13/18   10/20/18      100.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Frangipane,'Paul                     3/1/17    5/18/17       79.00      $3,950.00   $5,000.00       $8,950.00     $4,170,050.00     0.21462572%
Gajewska,'Magdalena'Grazyna         7/23/18    7/24/18        2.00       $100.00     $500.00         $600.00      $4,170,050.00     0.01438832%
Ganay,Jose                           11/7/13  12/22/13       46.00      $2,300.00   $5,000.00       $7,300.00     $4,170,050.00     0.17505785%
Garcia'Rebollar,'Rene                5/2/18     6/1/18       31.00      $1,550.00   $5,000.00       $6,550.00     $4,170,050.00     0.15707246%
Garcia,'Jonathan                    10/10/16   2/28/17      142.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Garcia,'Rey                          9/7/13    3/15/14      190.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Garcia,'Rey                         1/1/2014 1/31/2017      1127.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Gashi,'Frank                        10/10/16   4/13/19      916.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Ghita,'Ionela                         9/5/12    1/6/20      2680.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Giancaspro,'Vito                    10/12/16  12/31/16       81.00      $4,050.00   $5,000.00       $9,050.00     $4,170,050.00     0.21702378%
Giec,'Barbara                       12/12/18    4/4/19      114.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Gifoli,'Massimo                     10/15/13  12/31/14      443.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Gjini,Florin                         8/15/13  10/11/13       58.00      $2,900.00   $5,000.00       $7,900.00     $4,170,050.00     0.18944617%
Gjonbalaj,'Edon                     5/19/14     1/6/20      2059.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Gjonbalaj,'Leutrim                  3/11/17    5/21/17       72.00      $3,600.00   $5,000.00       $8,600.00     $4,170,050.00     0.20623254%
Gjonbalaj,'Leutrim                   9/7/13    5/24/14      260.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Gjonbalaj,'Pajtim                   9/23/13   10/12/13       20.00      $1,000.00   $5,000.00       $6,000.00     $4,170,050.00     0.14388317%
Gjonbalaj,'Reggiano                 9/5/2012 12/31/2016     1579.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Gomez,'Mario                        6/18/13    6/17/16      1096.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Gonzales,'Antonio                    11/6/12  10/28/13       357.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Gonzalez,'Alberto                   5/21/18   11/14/18      178.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Gonzalez,'Antonio                    7/9/18     8/7/18       30.00      $1,500.00   $5,000.00       $6,500.00     $4,170,050.00     0.15587343%
Gonzalez,'Luis                      6/18/13   12/29/17      1656.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Gonzalez,'Oscar'A                   5/13/17    5/28/17       16.00       $800.00    $4,000.00       $4,800.00     $4,170,050.00     0.11510653%
Gorolillo,'Juan                      3/2/16    6/30/16      121.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Granobles,'Paul                     6/30/14   12/31/14      185.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Guerreino,'Lance                     7/24/13   8/16/13       24.00      $1,200.00   $5,000.00       $6,200.00     $4,170,050.00     0.14867927%
Guilfucci,'Megan                    8/19/13    9/28/13       41.00      $2,050.00   $5,000.00       $7,050.00     $4,170,050.00     0.16906272%
Gutierez,'Marco                      9/9/13     6/1/18      1727.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Gutierrez'UMoctezuma,'Fredy         5/19/14     1/6/20      2059.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Gutierrez'Campos,'Carlos'E          12/27/18    1/4/19        9.00       $450.00    $2,250.00       $2,700.00     $4,170,050.00     0.06474743%

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                                                                                                                                  Individual.
                                                                    NYLL.195(1). NYLL.195(3).                    Class.Wide.    Percentage.of.
             Employee              DOH         DOT      Days.Worked                             Total.Penalty
                                                                     Penalty      Penalty                       Penalty.Amt      ClasswIwide.
                                                                                                                                     Amt.
GutierrezUFlorez,'Jose             6/6/14     1/6/20      2041.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Gutierrez,'Marco                   9/9/13     6/1/18      1727.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Hamem,'Adam                       12/13/18    1/6/20      390.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Harary,'Jon                       1/28/16     2/2/16        6.00       $300.00    $1,500.00       $1,800.00     $4,170,050.00     0.04316495%
Heras,'Bolivar                     9/9/13    2/22/14      167.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Heras,'Bolivar                     9/9/13    2/22/14      167.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Hernandez,'Armando                7/22/19    7/22/19        1.00       $50.00      $250.00         $300.00      $4,170,050.00     0.00719416%
Hernandez,'John                    3/4/16    5/25/18      813.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Hernandez,'John'F                  5/15/18     1/6/20      602.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Hernandez,'Rene                   8/15/13    9/14/13       31.00      $1,550.00   $5,000.00       $6,550.00     $4,170,050.00     0.15707246%
Hernandez,'Rene                   10/15/12    3/31/14      533.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Herrera,'Amadeo                  12/7/2018   4/3/2019      118.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Herrera,'Guztavo                   2/4/19    7/18/19      165.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Horn,'Michael'                    12/27/16   12/31/16       5.00       $250.00    $1,250.00       $1,500.00     $4,170,050.00     0.03597079%
Hosi,'Cedrick                      2/15/15    4/17/15      62.00      $3,100.00   $5,000.00       $8,100.00     $4,170,050.00     0.19424228%
Hossain,'Alomgir                   8/12/12    9/28/14      778.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Huerta,'Rolando                    1/10/14   10/31/14      295.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Huerta,'Rolando                    10/6/12    2/24/13     142.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Huerta,Rolando                    7/14/14    9/30/14       79.00      $3,950.00   $5,000.00       $8,950.00     $4,170,050.00     0.21462572%
Iliopoulos,'Giorgios              2/14/19    2/19/19        6.00       $300.00    $1,500.00       $1,800.00     $4,170,050.00     0.04316495%
Ionescu,'Lorando                  9/14/15    12/31/15     109.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Irineo'Rivera,'Jorge'Isaac        12/4/17     2/4/18       63.00      $3,150.00   $5,000.00       $8,150.00     $4,170,050.00     0.19544130%
Janko,'Sanisa                     10/16/17   11/17/17      33.00      $1,650.00   $5,000.00       $6,650.00     $4,170,050.00     0.15947051%
Jara,'Hector                        9/6/12    2/20/13      168.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Jaramillo,'Selso                   8/19/12    7/27/13      343.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Jarrin,'Christian                  5/5/16    6/13/16       40.00      $2,000.00   $5,000.00       $7,000.00     $4,170,050.00     0.16786369%
Jasaraj,'Ismet                     6/6/18    6/14/18        9.00       $450.00    $2,250.00       $2,700.00     $4,170,050.00     0.06474743%
Jerez,'Rene                        1/1/00    6/30/15      5660.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Jimenez,'Juan                     11/24/18    6/1/19      190.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Juarez,'Antonio                    7/8/18    7/18/18       11.00       $550.00    $2,750.00       $3,300.00     $4,170,050.00     0.07913574%
Juarez,'Antonio                   8/18/16     5/4/18      625.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Juarez,'Antonio                   12/20/17   8/18/18      242.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Juarez,'Hector                    12/8/16    5/14/17      158.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Karac,'Sinisa                     2/28/19    3/11/19       12.00       $600.00    $3,000.00       $3,600.00     $4,170,050.00     0.08632990%
Karac,'Suzana                     11/26/18   12/18/18      23.00      $1,150.00   $5,000.00       $6,150.00     $4,170,050.00     0.14748025%
Kaspetil,'Sergio                   6/19/13    6/30/13      12.00       $600.00    $3,000.00       $3,600.00     $4,170,050.00     0.08632990%
Keller,'Berkeley                  10/14/13   11/7/15      755.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Khan,'Iman'A                       5/6/17    3/30/18      329.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Kizic,'Ruzica                     1/10/17     6/1/18      508.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Kocabiyik,'Ergun                  11/20/17   12/1/17       12.00       $600.00    $3,000.00       $3,600.00     $4,170,050.00     0.08632990%
Kolowiecka,'Sylwia                11/26/18   11/6/19      346.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Kostic,'Marko                     11/12/19    1/6/20       56.00      $2,800.00   $5,000.00       $7,800.00     $4,170,050.00     0.18704812%
Kuball,'Caleb                     10/19/15   3/15/16      149.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Lachowski,'Samer                  12/22/14   7/11/15      202.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Lara,'Alex                        11/13/17   5/18/18      187.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Lee,'Chris                         8/9/16    8/10/16        2.00       $100.00     $500.00         $600.00      $4,170,050.00     0.01438832%
Leinwand,'Eric                    10/2/13    10/18/13      17.00       $850.00    $4,250.00       $5,100.00     $4,170,050.00     0.12230069%
Lema'Puma,'Jaime'A                11/27/17   12/29/17      33.00      $1,650.00   $5,000.00       $6,650.00     $4,170,050.00     0.15947051%
Llanos,'Sergio                     11/2/15     1/6/20     1527.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Lliguichuzhca,'Gustavo              9/3/19     1/6/20      126.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Lliguichuzhca,'Hector             6/13/11    10/9/18      2676.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Lliguicota,'Luis                  7/18/16     9/7/16       52.00      $2,600.00   $5,000.00       $7,600.00     $4,170,050.00     0.18225201%
Loforese,'Giuliana                12/17/12     3/2/13      76.00      $3,800.00   $5,000.00       $8,800.00     $4,170,050.00     0.21102864%
Lojano,'William'Fernanog         4/13/2019   5/2/2019      20.00      $1,000.00   $5,000.00       $6,000.00     $4,170,050.00     0.14388317%
Lopez'Echeverry,'Valentina        7/24/19     1/6/20      167.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Lopez'Rojas,'Guillermo'Enrique    7/22/19     1/6/20      169.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Lopez,'Alfredo                     2/8/17     2/9/17        2.00       $100.00     $500.00         $600.00      $4,170,050.00     0.01438832%
Lopez,'Emir                       2/16/19    2/24/19        9.00       $450.00    $2,250.00       $2,700.00     $4,170,050.00     0.06474743%
Lopez,'Martin                     11/22/15   12/31/15      40.00      $2,000.00   $5,000.00       $7,000.00     $4,170,050.00     0.16786369%
Lopez,'Sebastian                  9/25/15      1/6/20     1565.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Lopez,'Ubaldo                     4/26/15     5/1/16      372.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Luna,'Jose                         5/17/15    6/26/15      41.00      $2,050.00   $5,000.00       $7,050.00     $4,170,050.00     0.16906272%
Maciariello,'Vincent                8/3/13    8/17/13      15.00       $750.00    $3,750.00       $4,500.00     $4,170,050.00     0.10791238%

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                                                                                                                            Individual.
                                                              NYLL.195(1). NYLL.195(3).                    Class.Wide.    Percentage.of.
             Employee       DOH         DOT       Days.Worked                             Total.Penalty
                                                               Penalty      Penalty                       Penalty.Amt      ClasswIwide.
                                                                                                                               Amt.
Maldonado,'Carlos           11/7/18    2/12/19       98.00      $4,900.00   $5,000.00       $9,900.00     $4,170,050.00     0.23740723%
Mambelli,'Cameron           10/11/14  12/31/15      447.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Mambelli,'Cameron            7/1/14   12/31/14      184.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Mambelli,'Christian         9/25/16   10/18/16       24.00      $1,200.00   $5,000.00       $6,200.00     $4,170,050.00     0.14867927%
Mambelli,'Christian         9/5/2012 5/13/2016      1347.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Mambelli,Claudio              1/1/09    1/6/20      4023.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Mancini,'Claudio            11/20/18  11/20/18        1.00       $50.00      $250.00         $300.00      $4,170,050.00     0.00719416%
Mancini,'Claudio            11/14/18   1/21/19       69.00      $3,450.00   $5,000.00       $8,450.00     $4,170,050.00     0.20263546%
Marin,'Julian               5/24/13   12/31/14      587.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Marin,'Julian'D             10/21/13   6/11/18      1695.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Marin,'Julian'D              7/9/18   12/11/18      156.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Markovic,'Goran             9/30/13    7/26/14      300.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Markovic,'Peter             5/19/14   12/31/14      227.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Marquez,'Segundo           9/18/2012 5/5/2019       2421.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Marquez,'Segundo             9/18/12    5/5/19      2421.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Martinez,'Guillermo         10/7/13   12/31/16      1182.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Martinez,'Juan              12/15/15    5/4/16      142.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Martinez,'Maximino           2/4/16     2/5/16        2.00       $100.00     $500.00         $600.00      $4,170,050.00     0.01438832%
Masi,'Perla                 10/30/18   9/19/19      325.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Mass,'Daniel                 9/15/08   8/12/12      1428.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Massa,'Staefano             7/14/18     8/9/18       27.00      $1,350.00   $5,000.00       $6,350.00     $4,170,050.00     0.15227635%
Matute,'Mario               7/17/18     1/6/20      539.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Maunsell,'Kerrie            2/16/19     3/3/19       16.00       $800.00    $4,000.00       $4,800.00     $4,170,050.00     0.11510653%
Mazzara,'Giuseppe           9/17/14   12/31/14      106.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Meci,'Endrit                5/19/14     9/8/19      1939.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Mehmedovic,'Hariz           9/20/13     6/7/14      261.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Meira,'Valdemir               9/5/12    1/6/20      2680.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Meira,Valdemir                8/5/12    1/6/20      2711.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Meisner,Marilyn              2/15/15    4/3/15       48.00      $2,400.00   $5,000.00       $7,400.00     $4,170,050.00     0.17745591%
Mendez,'Edgar               4/30/19    7/10/19       72.00      $3,600.00   $5,000.00       $8,600.00     $4,170,050.00     0.20623254%
Mendez,'Jhonny               2/3/16    6/30/16      149.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Merikhi,'Abdelouadoud       12/20/17   1/16/18       28.00      $1,400.00   $5,000.00       $6,400.00     $4,170,050.00     0.15347538%
Miah,'Akbor                 7/18/18    12/1/18      137.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Miah,'Jubair                9/10/13   10/18/14      404.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Michieli,'Giulia            7/18/18    7/20/18        3.00       $150.00     $750.00         $900.00      $4,170,050.00     0.02158248%
Milosavljevic,'Luka          6/7/19    9/22/19      108.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Milosavljevic,'Stefan       4/16/19     8/1/19      108.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Milovic,'Valentina          7/13/18     8/9/18       28.00      $1,400.00   $5,000.00       $6,400.00     $4,170,050.00     0.15347538%
Minardi,'Robert'Paul         7/1/19    7/11/19       11.00       $550.00    $2,750.00       $3,300.00     $4,170,050.00     0.07913574%
Mineo,'Johnny               11/14/16  12/31/16       48.00      $2,400.00   $5,000.00       $7,400.00     $4,170,050.00     0.17745591%
Molina'Rivera,'Javier'P     5/1/2018 11/30/2018      214.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Molina,'Windsor             10/15/12   1/23/13       101.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Mondelli,'Tommaso            1/1/00    6/30/15      5660.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Monte,'Luca                 12/28/18    1/6/20      375.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Morales,'Marco'Antonio      8/19/13    5/28/17      1379.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Moreno,'Ruben'O             5/20/17     2/2/18      259.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Morina,'Adem                4/27/19    4/29/19        3.00       $150.00     $750.00         $900.00      $4,170,050.00     0.02158248%
Morocho,Luis                10/26/86    1/6/20     12126.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Mott,'Roger                 7/20/16   12/31/16      165.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Movileanu,'Liviu            5/19/14    4/24/15      341.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Muiro,'Luis'M               11/16/16  11/20/16        5.00       $250.00    $1,250.00       $1,500.00     $4,170,050.00     0.03597079%
Mulic,'Mirsada               5/24/13    1/6/20      2419.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Munguia,'Beatrice            7/6/18   10/18/18      105.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Mustafaj,'Almir             10/7/13   12/14/13       69.00      $3,450.00   $5,000.00       $8,450.00     $4,170,050.00     0.20263546%
Nakashian,Teela              6/28/11   3/31/12      278.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Narvaez,'Jaime'V           11/6/2017 11/24/2017      19.00       $950.00    $4,750.00       $5,700.00     $4,170,050.00     0.13668901%
Naula,'Hugo                  1/1/09    6/30/15      2372.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Naula,'Prudencio              1/1/97    1/6/20      8406.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Navarette,'Felipe           6/18/13   12/31/16      1293.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Negron,'Carlos              6/18/13    6/30/16      1109.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Nelson,'Henry               6/18/13   10/31/16      1232.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Nicoli,'Biago                3/14/07    1/6/20      4682.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Niola,'Alex                  1/1/09    6/30/15      2372.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Niola,'Johnny               10/1/12    6/30/15      1003.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Noreci,'Olsian               2/2/18    2/10/18        9.00       $450.00    $2,250.00       $2,700.00     $4,170,050.00     0.06474743%
Obando,'Andres               5/10/13   5/14/13        5.00       $250.00    $1,250.00       $1,500.00     $4,170,050.00     0.03597079%
Ochoa,'Diego              11/15/2016 2/4/2018        447.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%

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                                                                                                                                     Individual.
                                                                       NYLL.195(1). NYLL.195(3).                    Class.Wide.    Percentage.of.
            Employee                 DOH         DOT       Days.Worked                             Total.Penalty
                                                                        Penalty      Penalty                       Penalty.Amt      ClasswIwide.
                                                                                                                                        Amt.
Ochoa,'Diego                          10/30/14  12/31/16     794.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Offerman,'Jose                        11/6/13   11/1/14      361.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Ojeda,'Hernan'J                       11/20/16  11/27/16       8.00       $400.00    $2,000.00       $2,400.00     $4,170,050.00     0.05755327%
Orellana'Jara,'Cristihan'Luis          4/3/19    4/7/19        5.00       $250.00    $1,250.00       $1,500.00     $4,170,050.00     0.03597079%
Orlando,'Justin                        6/8/14   6/21/14       14.00       $700.00    $3,500.00       $4,200.00     $4,170,050.00     0.10071822%
Ortega,'Jose                          1/18/18   3/31/18       73.00      $3,650.00   $5,000.00       $8,650.00     $4,170,050.00     0.20743157%
Ostojic,'Aleksa                       10/22/18   3/9/19      139.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Ougribe,'Hakima                       8/19/13   9/20/14      398.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Padilla,'Manuel                       11/11/13   2/1/14       83.00      $4,150.00   $5,000.00       $9,150.00     $4,170,050.00     0.21942183%
Palaguachi'Tenemaza,'Eduardo'Isidro   6/26/19   8/18/19       54.00      $2,700.00   $5,000.00       $7,700.00     $4,170,050.00     0.18465006%
Palaguachi,'Luis                       7/8/18    7/9/18        2.00       $100.00     $500.00         $600.00      $4,170,050.00     0.01438832%
Palaguachi,Luis                        7/28/18    1/6/20     528.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Palazzo,'Stella                     11/19/2019    1/6/20      49.00      $2,450.00   $5,000.00       $7,450.00     $4,170,050.00     0.17865493%
Panora,'Carlos                         7/23/12    1/6/20     2724.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Panora,'Manuel                        8/28/13   1/11/14      137.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Papagiani,'Thanassi                   9/13/13    4/5/14      205.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Paric,'Ivana'M                       3/29/2018 3/29/2018       1.00        $50.00     $250.00         $300.00      $4,170,050.00     0.00719416%
Parientti,'Marine                      2/19/15   3/13/15      23.00      $1,150.00   $5,000.00       $6,150.00     $4,170,050.00     0.14748025%
Passante,'Mario                       6/12/18    9/1/18       82.00      $4,100.00   $5,000.00       $9,100.00     $4,170,050.00     0.21822280%
Pastrana,'Jorge'Alberto               11/9/19    1/6/20       59.00      $2,950.00   $5,000.00       $7,950.00     $4,170,050.00     0.19064520%
Pastuizaca,'David                      1/1/15    1/1/15        1.00       $50.00      $250.00         $300.00      $4,170,050.00     0.00719416%
Patino,'Alfredo                        8/1/13    2/1/14      185.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Patricio,'Javier                      12/23/13  12/31/14     374.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Pejovic,'Filip                        10/1/14   12/31/14      92.00      $4,600.00   $5,000.00       $9,600.00     $4,170,050.00     0.23021307%
Penafiel,'Franklin'E                   9/12/12   4/25/13      226.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Penafiel,'Segundo                     12/1/13   12/31/14     396.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Pera,'Leo                               9/5/12    1/6/20     2680.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Perez,'Efrain                         4/23/19   4/23/19        1.00       $50.00      $250.00         $300.00      $4,170,050.00     0.00719416%
Perez,'Juan                            5/8/16    9/8/17      489.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Pesantez,'Hernan                      11/21/14  12/31/14      41.00      $2,050.00   $5,000.00       $7,050.00     $4,170,050.00     0.16906272%
Pietrobon,'Dennis                      7/9/14   12/31/14     176.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Pillacela,'Carlos                     10/19/18  11/26/18      39.00      $1,950.00   $5,000.00       $6,950.00     $4,170,050.00     0.16666467%
Pillacela,'Carlos                     1/23/18   5/25/18      123.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Pirrone,'Ona'LJ                        9/8/17    4/1/18      206.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Plancarte'Reymundo,'Mario'            7/14/18    1/6/20      542.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Plancarte,'Mario                      10/26/16   6/1/18      584.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Pofi,'Linda                           12/8/16   12/16/16       9.00       $450.00    $2,250.00       $2,700.00     $4,170,050.00     0.06474743%
Portillo,'Christian                   8/19/13   5/26/15      646.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Portillo,'Christian                   6/17/14    1/6/20      2030.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Portillo,'Luis                        6/18/13   12/31/15     927.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Pressley,'Jacob                       2/16/14   12/31/14     319.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Prykhodko,'Darria                     12/12/18  12/13/18       2.00       $100.00     $500.00         $600.00      $4,170,050.00     0.01438832%
Qorkadiu,'Trim                        6/18/13   12/31/16     1293.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Quarrato,'Jean                        9/24/09   6/30/15      2106.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Quizhpi,'Polivio                      3/20/17    6/1/18      439.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Quizhpi,'Polivio'G                   5/27/2018 12/2/2018      190.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Quizpi,'Wilson'R                        9/5/12    1/6/20     2680.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rahaman,'Hamidur                      3/27/17   9/22/17      180.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Ramirez,'Atonio                       8/26/13   1/18/14      146.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Ramirez,'Ivancy                        2/4/16   12/31/16     332.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Ramirez,'Ivaney                       4/14/17   9/17/18      522.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Recon'Jr.,'Apolinar'C                  4/3/18   7/28/18      117.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Redrovan,'Carlos                      6/17/14   1/23/15      221.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Redrovan,'CarlosBruce               10/19/2017 5/13/2018      207.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Redrovan,'Freddy                    11/20/2017 5/11/2018      173.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Reinoso'Leon,'Jose'Vicente            6/18/18   7/21/18       34.00      $1,700.00   $5,000.00       $6,700.00     $4,170,050.00     0.16066954%
Remache,'Edison                        2/16/13    1/6/20     2516.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Remache,'Edison                        1/19/16    1/6/20     1449.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Restrepo,'Andres                       3/7/18   3/17/18       11.00       $550.00    $2,750.00       $3,300.00     $4,170,050.00     0.07913574%
Restrepo,'Andres                       7/9/18   7/20/18       12.00       $600.00    $3,000.00       $3,600.00     $4,170,050.00     0.08632990%
Restrepo,'Andres                      7/21/14   12/31/14     164.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
ReyUCordona,'Andres                   1/23/17   3/24/17       61.00      $3,050.00   $5,000.00       $8,050.00     $4,170,050.00     0.19304325%
ReyUCordona,'Andres                  2/20/2017 5/28/2017      98.00      $4,900.00   $5,000.00       $9,900.00     $4,170,050.00     0.23740723%
Rey,'Xoel                             9/20/12   12/31/14     833.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Reyes'Bravo,'Jesus                    7/17/18   10/27/18     103.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Reyes,'Jose                            2/2/16    2/3/16        2.00       $100.00     $500.00         $600.00      $4,170,050.00     0.01438832%
Rezaul,'Jaimee                         7/1/14   9/30/14       92.00      $4,600.00   $5,000.00       $9,600.00     $4,170,050.00     0.23021307%

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                                                                                                                                   Individual.
                                                                     NYLL.195(1). NYLL.195(3).                    Class.Wide.    Percentage.of.
             Employee             DOH          DOT       Days.Worked                             Total.Penalty
                                                                      Penalty      Penalty                       Penalty.Amt      ClasswIwide.
                                                                                                                                      Amt.
Rice,'Michaela'Katherine        2/16/19      3/10/19        23.00      $1,150.00   $5,000.00       $6,150.00     $4,170,050.00     0.14748025%
Rickman,'Christian''S           9/29/16      12/31/16       94.00      $4,700.00   $5,000.00       $9,700.00     $4,170,050.00     0.23261112%
Rios,'Jorge                     1/17/15      12/31/15      349.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rios,'Roberto                    1/5/17       1/6/17         2.00       $100.00     $500.00         $600.00      $4,170,050.00     0.01438832%
Rivera,'Angel                   8/27/13      8/23/14       362.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rivera,'Augusto                 1/18/17      5/25/18       493.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rivera,'Jamie                   8/27/13      6/26/16       1035.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rivera,'Julio                    2/7/17      2/15/17         9.00       $450.00    $2,250.00       $2,700.00     $4,170,050.00     0.06474743%
Rivera,'Victor                  5/17/15      12/1/17       930.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rivera,'Victor                  5/17/15      12/1/17       930.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rivera,Jorge'Isaac              12/4/17       2/4/18        63.00      $3,150.00   $5,000.00       $8,150.00     $4,170,050.00     0.19544130%
Rocco,'Lorenzo                  7/13/15      6/26/16       350.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rodgriguez,'Wilson              6/17/17      10/10/17      116.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rodic,'Andrija                  5/13/19      6/21/19        40.00      $2,000.00   $5,000.00       $7,000.00     $4,170,050.00     0.16786369%
Rodrigo,'Chiguil                4/13/16      6/30/16        79.00      $3,950.00   $5,000.00       $8,950.00     $4,170,050.00     0.21462572%
Rodriguez,'Jose                1/25/2018     4/8/2018       74.00      $3,700.00   $5,000.00       $8,700.00     $4,170,050.00     0.20863059%
Rodriguez,'Mario                6/18/13       6/1/18       1810.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rodriguez,'Rafael               1/1/2015    6/30/2015       181.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rodriquez,'Rafael                1/8/14       2/1/14        25.00      $1,250.00   $5,000.00       $6,250.00     $4,170,050.00     0.14987830%
Rodrugez,'Richard               1/1/2015    6/30/2015       181.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rojas'Rosas,'Raoul              6/18/18       1/6/20       568.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rojas,'Cristian                  9/14/12       1/6/13       115.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rojas,'Jessica                   7/1/14      9/30/14        92.00      $4,600.00   $5,000.00       $9,600.00     $4,170,050.00     0.23021307%
Rojas,'Juan''Carlos             2/22/17      3/17/17        24.00      $1,200.00   $5,000.00       $6,200.00     $4,170,050.00     0.14867927%
Rojas,'Luis                     10/7/13       3/1/14       146.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rojas,'Raul                     6/18/13       6/1/18       1810.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Romano,'Trinidad                5/28/14      6/30/14        34.00      $1,700.00   $5,000.00       $6,700.00     $4,170,050.00     0.16066954%
Romero,'Antonio                   3/1/15      3/27/15       27.00      $1,350.00   $5,000.00       $6,350.00     $4,170,050.00     0.15227635%
Romero,'Ivan                    11/21/16      6/1/18       558.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Romero,'Ivan                    7/16/18      12/25/18      163.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Ronkainen,'Logan                 8/7/13      10/31/16      1182.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Ropus,'Antonio                  11/1/19      11/6/19         6.00       $300.00    $1,500.00       $1,800.00     $4,170,050.00     0.04316495%
Ropus,'Daniela                  1/22/19      11/11/19      294.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rosario,'Magda                  7/25/19      10/25/19       93.00      $4,650.00   $5,000.00       $9,650.00     $4,170,050.00     0.23141209%
Rosas,'Carmelo                  10/15/13      3/8/14       145.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Rouzot,'Julian'Pascal'Joel                                   1.00       $50.00      $250.00         $300.00      $4,170,050.00     0.00719416%
Sadykova,'Dilnoza(Sandykova)     12/18/16     6/1/18       531.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Saldano,'Diego                    7/5/14     12/31/14      180.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Saldava,'Silvio                   5/20/13      1/6/20      2423.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Salinas,'Vittoria                11/12/15    1/29/16        79.00      $3,950.00   $5,000.00       $8,950.00     $4,170,050.00     0.21462572%
Salsiniia,'Roy                   10/15/12     2/12/13       121.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
San'Juan,'Jose                   10/30/16    12/23/16       55.00      $2,750.00   $5,000.00       $7,750.00     $4,170,050.00     0.18584909%
Sanay,'Diego                      8/4/13     12/29/17      1609.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Sanchez,'Albino                   8/1/02     6/30/15       4717.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Sanchez,'Eddy                    1/1/2014   2/12/2018      1504.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Sanchez,'Gerson'A                10/12/16    12/31/16       81.00      $4,050.00   $5,000.00       $9,050.00     $4,170,050.00     0.21702378%
Sanchez,'Juan'Paramo               6/7/11     6/14/14      1104.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Sanchez,'Ricardo                 9/5/2012   6/30/2016      1395.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Sanchez,'Ricardo                  5/2/19      1/6/20       250.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Sanchez,'Richardo                1/30/17     5/21/17       112.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Sanchez,'Rubi                     9/28/11     9/16/12      355.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Santiago,'Eligio                  3/5/18      3/9/18         5.00       $250.00    $1,250.00       $1,500.00     $4,170,050.00     0.03597079%
Santos,'Brian'Jose             10/18/2018   1/20/2019       95.00      $4,750.00   $5,000.00       $9,750.00     $4,170,050.00     0.23381015%
Sarmiento,'Jorge                 11/16/16    12/31/16       46.00      $2,300.00   $5,000.00       $7,300.00     $4,170,050.00     0.17505785%
Saula,'Milton                      1/1/14      1/6/20      2197.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Secolo,'Angelo                   6/17/14     6/30/14        14.00       $700.00    $3,500.00       $4,200.00     $4,170,050.00     0.10071822%
Shannon,'Kayla                   2/7/2017   2/28/2017       22.00      $1,100.00   $5,000.00       $6,100.00     $4,170,050.00     0.14628122%
Sheehan,'William'Fenton          10/30/19     1/6/20        69.00      $3,450.00   $5,000.00       $8,450.00     $4,170,050.00     0.20263546%
Simaku,'Endrit                   10/16/17     6/1/18       229.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Sorce,'Gerlando                 1/22/2018    2/4/2018       14.00       $700.00    $3,500.00       $4,200.00     $4,170,050.00     0.10071822%
Spanedda,'Ivo                    11/14/11    9/30/16       1783.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Spasovska,'Makedonka             12/5/18     12/9/18         5.00       $250.00    $1,250.00       $1,500.00     $4,170,050.00     0.03597079%
Stanic,Goran                      9/13/17      1/6/20       846.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Steedle,Hilary                     3/8/15     3/13/15        6.00       $300.00    $1,500.00       $1,800.00     $4,170,050.00     0.04316495%
Sudru,'Alexandru                 6/17/14     9/30/14       106.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Sukaj,'Anton                     10/7/13     1/12/18       1559.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Svanidze,'Sopiko                  1/9/19     4/25/19       107.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Tapia,'Miguel'A                  5/28/14      1/6/20       2050.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Taza,'Carlos                      9/16/13      1/6/20      2304.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Teles,'Rodolfo                   9/30/13     12/21/13       83.00      $4,150.00   $5,000.00       $9,150.00     $4,170,050.00     0.21942183%
Teles,'Rodolfo                 10/01/2014   03/13/2015     164.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
                                                                         7
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                                                                                                                               Individual.
                                                                 NYLL.195(1). NYLL.195(3).                    Class.Wide.    Percentage.of.
             Employee          DOH         DOT       Days.Worked                             Total.Penalty
                                                                  Penalty      Penalty                       Penalty.Amt      ClasswIwide.
                                                                                                                                  Amt.
Telese,'Cristina              7/10/18     10/6/18       89.00      $4,450.00   $5,000.00       $9,450.00     $4,170,050.00     0.22661599%
Telese,'Cristina              12/28/16    5/25/18      514.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Tello,'Edison'P                8/26/12     3/31/14      583.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Tenezaca,'Manuel'S              9/5/12    11/20/15     1172.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Tinishanay,'Michael            5/5/12     12/31/14     971.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Tocchetto,'Gustavo             8/26/03     3/18/19     5684.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Todorov,'Bogdan                7/21/13     9/15/13      57.00      $2,850.00   $5,000.00       $7,850.00     $4,170,050.00     0.18824714%
Toledo'Ruiz,'Madeline         7/17/18     8/12/18       27.00      $1,350.00   $5,000.00       $6,350.00     $4,170,050.00     0.15227635%
Tononi,'Fabio                 2/22/19      1/6/20      319.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Topalovic,'Marko              4/22/19      1/6/20      260.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Torres'Olibo,'Jose'Alberto     7/2/18     9/13/18       74.00      $3,700.00   $5,000.00       $8,700.00     $4,170,050.00     0.20863059%
Torres,'Juan'R                 6/5/18     10/19/18     137.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Torres,'Trinidad              9/20/16     10/20/17     396.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Torrez,'Aldo                  5/27/16      6/5/16       10.00       $500.00    $2,500.00       $3,000.00     $4,170,050.00     0.07194158%
Truscello,'Nicholas           9/30/13     6/14/14      258.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Tufano,'Frank'Armand          6/18/18     7/29/18       42.00      $2,100.00   $5,000.00       $7,100.00     $4,170,050.00     0.17026175%
Tzunun,'Jeronimo               8/9/16     10/16/16      69.00      $3,450.00   $5,000.00       $8,450.00     $4,170,050.00     0.20263546%
Urbina,'Leonardo              11/17/13    12/21/13      35.00      $1,750.00   $5,000.00       $6,750.00     $4,170,050.00     0.16186856%
Valencia,'Jose'L              6/6/2018    6/6/2018       1.00        $50.00     $250.00         $300.00      $4,170,050.00     0.00719416%
Valencia,'Jose'L              11/18/16     6/1/18      561.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Valencia,'Jose'L              10/25/18    2/24/19      123.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Varbanciu,'Ciprian            9/10/13     8/16/14      341.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Vargas'Velazquez,'Jose'L      10/4/17     10/23/17      20.00      $1,000.00   $5,000.00       $6,000.00     $4,170,050.00     0.14388317%
Vasquez,'Marco'V               3/8/17     5/18/17       72.00      $3,600.00   $5,000.00       $8,600.00     $4,170,050.00     0.20623254%
Vera,'Wilson                 11/5/2018    5/6/2019      183.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Vidal,'Anthony                11/6/14     12/31/14      56.00      $2,800.00   $5,000.00       $7,800.00     $4,170,050.00     0.18704812%
Villavicencio,'Jorge          10/25/18    11/1/18        8.00       $400.00    $2,000.00       $2,400.00     $4,170,050.00     0.05755327%
Villota,'Gary'B                11/1/12     3/20/13      140.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Visentin,'Elisa               10/19/18     1/6/19       80.00      $4,000.00   $5,000.00       $9,000.00     $4,170,050.00     0.21582475%
Volk,'Jason'Edward            2/26/19      3/5/19        8.00       $400.00    $2,000.00       $2,400.00     $4,170,050.00     0.05755327%
Voshki'Korab                  5/18/14     7/19/14       63.00      $3,150.00   $5,000.00       $8,150.00     $4,170,050.00     0.19544130%
Vrancevic,'Borivoje           10/16/17    5/25/18      222.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Vrancevic,'Borivoje           10/22/18     3/9/19      139.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Vukotic,'Sanja                10/12/16    12/31/16      81.00      $4,050.00   $5,000.00       $9,050.00     $4,170,050.00     0.21702378%
Vukotic,'Sanja               5/29/2016   5/14/2018      716.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Wong,'Jose                    10/31/16    8/16/17      290.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Wong,'Jose'L                    1/1/14      1/6/20     2197.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Xhaferi,'Genci                9/30/13     12/6/14      433.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Yupa,'Javier                  9/5/2012   1/19/2018     1963.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Yupa,'Javier                  9/5/2012   1/19/2018     1963.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Zambrano'Primor,'Modesto      10/25/17    1/13/18       81.00      $4,050.00   $5,000.00       $9,050.00     $4,170,050.00     0.21702378%
Zarate,'Oscar                 5/31/17     7/23/17       54.00      $2,700.00   $5,000.00       $7,700.00     $4,170,050.00     0.18465006%
Zaruma,'Victor                10/17/13    12/31/14     441.00      $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Zecevic,'Miljan               6/18/13     1/28/18      1686.00     $5,000.00   $5,000.00      $10,000.00     $4,170,050.00     0.23980528%
Zevallos,'German             8/28/2019   9/29/2019      33.00      $1,650.00   $5,000.00       $6,650.00     $4,170,050.00     0.15947051%
Zhindon,'Damian                9/12/12     12/1/12      81.00      $4,050.00   $5,000.00       $9,050.00     $4,170,050.00     0.21702378%
Zinin,'Bogdan                  8/3/16      8/4/16        2.00       $100.00     $500.00         $600.00      $4,170,050.00     0.01438832%
                                                                                             $4,170,050.00                             100%




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